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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:masterpiececakeshop,incvscardinano23sc1162024co67october8,2024"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 67&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Masterpiece Cakeshop, Inc.&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Jack Phillips&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Autumn Scardina&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 23SC116&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;October 8, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="176" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="176" data-sentence-id="189" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_189" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 21CA1142&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="2" data-page_type="bare_number" data-id="pagenumber_268"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="268" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="268" data-sentence-id="281" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;James A. Campbell&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Jonathan A.
 Scruggs&lt;/span&gt; &lt;span class="ldml-entity"&gt;Jacob P. Warner&lt;/span&gt; Scottsdale, Arizona&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="383" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="383" data-sentence-id="395" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John
 J. Bursch Washington&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District of Columbia&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="444" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="444" data-sentence-id="456" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Samuel
 M. Ventola Denver&lt;/span&gt;&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="492" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="492" data-sentence-id="505" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Fennemore Craig, P.C.&lt;/span&gt; &lt;span class="ldml-entity"&gt;John M.
 McHugh Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="3" data-page_type="bare_number" data-id="pagenumber_586"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="586" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="586" data-sentence-id="599" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Greisen Medlock, LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Paula Greisen&lt;/span&gt; &lt;span class="ldml-entity"&gt;Scott Medlock Denver&lt;/span&gt;,
 Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="666" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="666" data-sentence-id="679" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-lawyerrole"&gt;Amici Curiae&lt;/span&gt; Aaron and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Melissa Klein&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Jeffrey
 C. Mateer&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;David J. Hacker&lt;/span&gt; &lt;span class="ldml-entity"&gt;Kassandra L. Dulin&lt;/span&gt; Plano, Texas&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="798" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="798" data-sentence-id="811" class="ldml-sentence"&gt;&lt;span class="ldml-lawfirm"&gt;Kniffin Law PLLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Eric Kniffin&lt;/span&gt; Colorado Springs, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="868" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="868" data-sentence-id="881" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-lawyerrole"&gt;Amici Curiae&lt;/span&gt; American Civil Liberties Union
 Foundation and American Civil Liberties Union of Colorado:
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Timothy R. Macdonald&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Sara R. Neel&lt;/span&gt; &lt;span class="ldml-entity"&gt;Anna I. Kurtz&lt;/span&gt; &lt;span class="ldml-entity"&gt;Laura Moraff
 Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1079" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="1079" data-sentence-id="1092" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-lawyerrole"&gt;Amici Curiae&lt;/span&gt; Americans United for Separation of
 Church and State, Bend the Arc: A Jewish Partnership for
 Justice, Interfaith Alliance, Methodist Federation for Social
 Action, &lt;span class="ldml-entity"&gt;National Council of Jewish Women, and Sikh Coalition&lt;/span&gt;:
 &lt;span class="ldml-lawfirm"&gt;Arnold &amp; Porter Kaye Scholer LLP&lt;/span&gt; &lt;span class="ldml-entity"&gt;Matthew J. Douglas
 Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-syllabus"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Alex
 J. Luchenitser Kalli A. Joslin Washington, District of
 Columbia
" data-specifier="" data-value="Alex
 J. Luchenitser Kalli A. Joslin Washington, District of
 Columbia" id="heading_1409" data-id="heading_1409"&gt;&lt;span data-paragraph-id="1409" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1409" data-sentence-id="1421" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Alex
 J. Luchenitser&lt;/span&gt; &lt;span class="ldml-entity"&gt;Kalli A. Joslin Washington&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District of
 Columbia&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amicus Curiae CatholicVote.org Education Fund:
 Illumine Legal LLC J. Brad Bergford Denver, Colorado
" data-specifier="" data-value="Attorneys for Amicus Curiae CatholicVote.org Education Fund:
 Illumine Legal LLC J. Brad Bergford Denver, Colorado" id="heading_1492" data-id="heading_1492" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="1492" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1492" data-sentence-id="1505" class="ldml-sentence"&gt;Attorneys for Amicus Curiae CatholicVote.org Education Fund:
 &lt;span class="ldml-entity"&gt;Illumine Legal LLC&lt;/span&gt; J. &lt;span class="ldml-entity"&gt;Brad Bergford Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="4" data-page_type="bare_number" data-id="pagenumber_1620"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Scott
 W. Gaylord Greensboro, North Carolina
" data-specifier="" data-value="Scott
 W. Gaylord Greensboro, North Carolina" id="heading_1620" data-id="heading_1620" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="1620" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1620" data-sentence-id="1632" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Scott
 W. Gaylord&lt;/span&gt; Greensboro, North Carolina&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1677" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1677" data-sentence-id="1690" class="ldml-sentence"&gt;Attorneys for Amicus Curiae Colorado Lesbian, Gay, Bisexual,
 Transgender, and Queer Chamber of Commerce: Brownstein Hyatt
 Farber Schreck, LLP &lt;span class="ldml-entity"&gt;Craig M. Finger&lt;/span&gt; &lt;span class="ldml-entity"&gt;Amalia Y. Sax-Bolder&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Lance T. Collins Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Mary
 L. Bonauto Boston, Massachusetts
" data-specifier="" data-value="Mary
 L. Bonauto Boston, Massachusetts" id="heading_1905" data-id="heading_1905"&gt;&lt;span data-paragraph-id="1905" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1905" data-sentence-id="1917" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Mary
 L. Bonauto Boston&lt;/span&gt;, Massachusetts&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae Colorado LGBTQ+ Bar Association,
 Colorado Hispanic Bar Association, Colorado Women's Bar
 Association, and Asian Pacific American Bar Association of
 Colorado: Holland &amp;amp; Hart LLP Tina R. Van Bockern Thomas
 A. Morales Utsarga Bhattarai Elizabeth H. Titus Denver,
 Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae Colorado LGBTQ+ Bar Association,
 Colorado Hispanic Bar Association, Colorado Women's Bar
 Association, and Asian Pacific American Bar Association of
 Colorado: Holland &amp;amp; Hart LLP Tina R. Van Bockern Thomas
 A. Morales Utsarga Bhattarai Elizabeth H. Titus Denver,
 Colorado" id="heading_1956" data-id="heading_1956" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="1956" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1956" data-sentence-id="1969" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;Amici Curiae Colorado LGBTQ+ Bar Association&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Colorado Hispanic Bar Association&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Colorado Women's Bar
 Association&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;Asian Pacific American Bar Association of
 Colorado&lt;/span&gt;: Holland &amp; Hart LLP &lt;span class="ldml-entity"&gt;Tina R. Van Bockern Thomas&lt;/span&gt;
 A. Morales Utsarga Bhattarai &lt;span class="ldml-entity"&gt;Elizabeth H. Titus Denver&lt;/span&gt;,
 Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae Colorado State Legislators of the
 74th General Assembly Representatives Stephanie Vigil, Lorena
 Garcia, Leslie Herod, Jennifer Parenti, Elizabeth Velasco,
 Brianna Titone, Chad Clifford, and David Ortiz: Davis Graham
 &amp;amp; Stubbs LLP Tess Hand-Bender Kristin L. Arthur Denver,
 Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae Colorado State Legislators of the
 74th General Assembly Representatives Stephanie Vigil, Lorena
 Garcia, Leslie Herod, Jennifer Parenti, Elizabeth Velasco,
 Brianna Titone, Chad Clifford, and David Ortiz: Davis Graham
 &amp;amp; Stubbs LLP Tess Hand-Bender Kristin L. Arthur Denver,
 Colorado" id="heading_2270" data-id="heading_2270" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="2270" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="2270" data-sentence-id="2283" class="ldml-sentence"&gt;Attorneys for Amici Curiae Colorado State Legislators of the
 74th General Assembly Representatives &lt;span class="ldml-entity"&gt;Stephanie Vigil&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Lorena
 Garcia&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Leslie Herod&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Jennifer Parenti&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Elizabeth Velasco&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Brianna Titone&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Chad Clifford&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;David Ortiz&lt;/span&gt;: Davis Graham
 &amp; Stubbs LLP &lt;span class="ldml-entity"&gt;Tess Hand-Bender&lt;/span&gt; &lt;span class="ldml-entity"&gt;Kristin L. Arthur Denver&lt;/span&gt;,
 Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae Colorado State Legislators of the
 74th General Assembly Senators Mark Baisley and Kevin Van
 Winkle and Representatives Brandi Bradley, Scott Bottoms, Ken
 DeGraaf, and Stephanie Luck: Arrington Law Office Barry K.
 Arrington Wheat Ridge, Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae Colorado State Legislators of the
 74th General Assembly Senators Mark Baisley and Kevin Van
 Winkle and Representatives Brandi Bradley, Scott Bottoms, Ken
 DeGraaf, and Stephanie Luck: Arrington Law Office Barry K.
 Arrington Wheat Ridge, Colorado" id="heading_2596" data-id="heading_2596" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="2596" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="2596" data-sentence-id="2609" class="ldml-sentence"&gt;Attorneys for Amici Curiae Colorado State Legislators of the
 74th General Assembly Senators &lt;span class="ldml-entity"&gt;Mark Baisley&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Kevin Van
 Winkle&lt;/span&gt; and Representatives &lt;span class="ldml-entity"&gt;Brandi Bradley&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Scott Bottoms&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Ken
 DeGraaf&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;Stephanie Luck&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Arrington Law Office&lt;/span&gt; &lt;span class="ldml-entity"&gt;Barry K.
 Arrington&lt;/span&gt; Wheat Ridge, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="5" data-page_type="bare_number" data-id="pagenumber_2885"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amicus Curiae Cyndol Haller: S|L Law PLLC John
 C. Sullivan Cedar Hill, Texas
" data-specifier="" data-value="Attorneys for Amicus Curiae Cyndol Haller: S|L Law PLLC John
 C. Sullivan Cedar Hill, Texas" id="heading_2885" data-id="heading_2885" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="2885" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="2885" data-sentence-id="2898" class="ldml-sentence"&gt;Attorneys for Amicus Curiae Cyndol Haller: S|L Law PLLC &lt;span class="ldml-entity"&gt;John
 C. Sullivan&lt;/span&gt; Cedar Hill, Texas&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Nussbaum Gleason PLLC Andrew Nussbaum Colorado Springs,
 Colorado
" data-specifier="" data-value="Nussbaum Gleason PLLC Andrew Nussbaum Colorado Springs,
 Colorado" id="heading_2990" data-id="heading_2990" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="2990" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="2990" data-sentence-id="3003" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Nussbaum Gleason PLLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Andrew Nussbaum&lt;/span&gt; Colorado Springs,
 Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae First Amendment, Constitutional,
 and Antidiscrimination Law Scholars Scott Skinner-Thompson,
 Carlos A. Ball, Erwin Chemerinsky, Alan K. Chen, G.S. Hans,
 Woodrow Hartzog, Jennifer Hendricks, Thomas Kadri, Suzette
 Malveaux, Toni Massaro, Catherine Smith, Douglas Spencer,
 Kyle C. Velte, Ari Ezra Waldman, and Lucy Williams:
 Hutchinson Black and Cook, LLC Matthew A. Simonsen Kimberly
 M. Hult Boulder, Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae First Amendment, Constitutional,
 and Antidiscrimination Law Scholars Scott Skinner-Thompson,
 Carlos A. Ball, Erwin Chemerinsky, Alan K. Chen, G.S. Hans,
 Woodrow Hartzog, Jennifer Hendricks, Thomas Kadri, Suzette
 Malveaux, Toni Massaro, Catherine Smith, Douglas Spencer,
 Kyle C. Velte, Ari Ezra Waldman, and Lucy Williams:
 Hutchinson Black and Cook, LLC Matthew A. Simonsen Kimberly
 M. Hult Boulder, Colorado" id="heading_3069" data-id="heading_3069" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="3069" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="3069" data-sentence-id="3082" class="ldml-sentence"&gt;Attorneys for Amici Curiae &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3082" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;First Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Constitutional,
 and Antidiscrimination Law Scholars &lt;span class="ldml-entity"&gt;Scott Skinner-Thompson&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Carlos A. Ball&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Erwin Chemerinsky&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Alan K. Chen&lt;/span&gt;, &lt;span class="ldml-entity"&gt;G.S. Hans&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Woodrow Hartzog&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Jennifer Hendricks&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Thomas Kadri&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Suzette
 Malveaux&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Toni Massaro&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Catherine Smith&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Douglas Spencer&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Kyle C. Velte&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Ari Ezra Waldman&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;Lucy Williams&lt;/span&gt;:
 &lt;span class="ldml-entity"&gt;Hutchinson Black and Cook, LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Matthew A. Simonsen&lt;/span&gt; &lt;span class="ldml-entity"&gt;Kimberly
 M. Hult&lt;/span&gt; Boulder, Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae First Amendment Scholars George W.
 Dent, Jr.; David K. DeWolf; Bruce P. Frohnen; Brett G.
 Scharffs; and Steven D. Smith: Illumine Legal LLC Devin C.
 Daines Denver, Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae First Amendment Scholars George W.
 Dent, Jr.; David K. DeWolf; Bruce P. Frohnen; Brett G.
 Scharffs; and Steven D. Smith: Illumine Legal LLC Devin C.
 Daines Denver, Colorado" id="heading_3524" data-id="heading_3524" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="3524" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="3524" data-sentence-id="3537" class="ldml-sentence"&gt;Attorneys for Amici Curiae &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3537" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;First Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Scholars &lt;span class="ldml-entity"&gt;George W.
 Dent, Jr.&lt;/span&gt;; &lt;span class="ldml-entity"&gt;David K. DeWolf&lt;/span&gt;; &lt;span class="ldml-entity"&gt;Bruce P. Frohnen&lt;/span&gt;; &lt;span class="ldml-entity"&gt;Brett G.
 Scharffs&lt;/span&gt;; and &lt;span class="ldml-entity"&gt;Steven D. Smith&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Illumine Legal LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Devin C.
 Daines Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 William C. Duncan Salt Lake City, Utah
" data-specifier="" data-value="William C. Duncan Salt Lake City, Utah" id="heading_3740" data-id="heading_3740" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="3740" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="3740" data-sentence-id="3753" class="ldml-sentence"&gt;William C. &lt;span class="ldml-entity"&gt;Duncan Salt Lake City&lt;/span&gt;, Utah&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3792" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="3792" data-sentence-id="3805" class="ldml-sentence"&gt;Attorneys for Amici Curiae Jewish Coalition for Religious
 Liberty, Coalition for Jewish Values, Summit Ministries, The
 Colson Center for &lt;span class="ldml-entity"&gt;Christian Worldview&lt;/span&gt;, American Muslim &amp;
 Multifaith Women's &lt;span class="ldml-entity"&gt;Empowerment Council&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;World Hazara
 Council USA&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Covenant Law PLLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Ian Speir&lt;/span&gt; Colorado Springs,
 Colorado&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Howard
 Slugh Washington, District of Columbia
" data-specifier="" data-value="Howard
 Slugh Washington, District of Columbia" id="heading_4111" data-id="heading_4111"&gt;&lt;span data-paragraph-id="4111" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4111" data-sentence-id="4123" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Howard
 Slugh Washington&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District of Columbia&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="6" data-page_type="bare_number" data-id="pagenumber_4170"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="4170" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="4170" data-sentence-id="4183" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;Amicus Curiae Lambda Legal Defense and
 Education Fund, Inc.&lt;/span&gt; &lt;span class="ldml-entity"&gt;Karen L. Loewy Washington&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District of
 Columbia&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Sonja
 D. Kerr Dallas, Texas
" data-specifier="" data-value="Sonja
 D. Kerr Dallas, Texas" id="heading_4307" data-id="heading_4307"&gt;&lt;span data-paragraph-id="4307" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4307" data-sentence-id="4319" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Sonja
 D. Kerr Dallas&lt;/span&gt;, Texas&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Pelecanos Los Angeles, California
" data-specifier="" data-value="Pelecanos Los Angeles, California" id="heading_4348" data-id="heading_4348" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="4348" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="4348" data-sentence-id="4361" class="ldml-sentence"&gt;Pelecanos Los Angeles, California&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae Mountain States Legal Foundation,
 Americans for Prosperity Foundation, Southeastern Legal
 Foundation, and Manhattan Institute: James Kerwin William E.
 Trachman Lakewood, Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae Mountain States Legal Foundation,
 Americans for Prosperity Foundation, Southeastern Legal
 Foundation, and Manhattan Institute: James Kerwin William E.
 Trachman Lakewood, Colorado" id="heading_4395" data-id="heading_4395" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="4395" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="4395" data-sentence-id="4408" class="ldml-sentence"&gt;Attorneys for Amici Curiae Mountain States Legal Foundation,
 Americans for Prosperity Foundation, Southeastern Legal
 Foundation, and Manhattan Institute: &lt;span class="ldml-entity"&gt;James Kerwin&lt;/span&gt; &lt;span class="ldml-entity"&gt;William E.
 Trachman Lakewood&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae National Religious Broadcasters
 and Foundation for Moral Law: Brown Dunning Walker Fein
 Drusch PC David C. Walker Greenwood Village, Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae National Religious Broadcasters
 and Foundation for Moral Law: Brown Dunning Walker Fein
 Drusch PC David C. Walker Greenwood Village, Colorado" id="heading_4617" data-id="heading_4617" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="4617" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="4617" data-sentence-id="4630" class="ldml-sentence"&gt;Attorneys for Amici Curiae National Religious Broadcasters
 and Foundation for Moral Law: Brown Dunning Walker Fein
 Drusch PC David C. &lt;span class="ldml-entity"&gt;Walker Greenwood Village&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Michael P. Farris Washington, District of Columbia
" data-specifier="" data-value="Michael P. Farris Washington, District of Columbia" id="heading_4801" data-id="heading_4801" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="4801" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="4801" data-sentence-id="4814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Michael P. Farris Washington&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District of Columbia&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="4865" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="4865" data-sentence-id="4878" class="ldml-sentence"&gt;Attorneys for Amici Curiae States of Arkansas, Alabama,
 Alaska, Georgia, Idaho, Indiana, Iowa, Kansas, Kentucky,
 Louisiana, Mississippi, Missouri, Montana, Nebraska, North
 Dakota, Ohio, South Carolina, South Dakota, Tennessee, Texas,
 Utah, Virginia, and West Virginia: &lt;span class="ldml-entity"&gt;Nicholas J. Bronni&lt;/span&gt; &lt;span class="ldml-entity"&gt;Dylan
 L. Jacobs&lt;/span&gt; &lt;span class="ldml-entity"&gt;Michael A. Cantrell&lt;/span&gt; Little Rock, Arkansas&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Nicole
 C. Hunt Lakewood, Colorado
" data-specifier="" data-value="Nicole
 C. Hunt Lakewood, Colorado" id="heading_5229" data-id="heading_5229"&gt;&lt;span data-paragraph-id="5229" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5229" data-sentence-id="5241" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Nicole
 C. Hunt Lakewood&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="7" data-page_type="bare_number" data-id="pagenumber_5276"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae States of Massachusetts,
 Connecticut, Delaware, District of Columbia, Hawaii,
 Illinois, Maine, Maryland, Michigan, Minnesota, Nevada, New
 Jersey, New York, Oregon, Pennsylvania, Rhode Island,
 Vermont, and Washington: Adam M. Cambier Boston,
 Massachusetts
" data-specifier="" data-value="Attorneys for Amici Curiae States of Massachusetts,
 Connecticut, Delaware, District of Columbia, Hawaii,
 Illinois, Maine, Maryland, Michigan, Minnesota, Nevada, New
 Jersey, New York, Oregon, Pennsylvania, Rhode Island,
 Vermont, and Washington: Adam M. Cambier Boston,
 Massachusetts" id="heading_5276" data-id="heading_5276" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="5276" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="5276" data-sentence-id="5289" class="ldml-sentence"&gt;Attorneys for Amici Curiae States of Massachusetts,
 Connecticut, Delaware, &lt;span class="ldml-entity"&gt;District of Columbia&lt;/span&gt;, Hawaii,
 Illinois, Maine, Maryland, Michigan, Minnesota, Nevada, New
 Jersey, New York, Oregon, Pennsylvania, Rhode Island,
 Vermont, and Washington: &lt;span class="ldml-entity"&gt;Adam M. Cambier Boston&lt;/span&gt;,
 Massachusetts&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Olson
 Grimsley Kawanabe Hinchcliff &amp;amp; Murray LLC Eric Olson
 Denver, Colorado
" data-specifier="" data-value="Olson
 Grimsley Kawanabe Hinchcliff &amp;amp; Murray LLC Eric Olson
 Denver, Colorado" id="heading_5576" data-id="heading_5576" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="5576" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5576" data-sentence-id="5588" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Olson
 Grimsley Kawanabe Hinchcliff &amp; Murray LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Eric Olson
 Denver&lt;/span&gt;, Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amici Curiae Tastries Bakery and Catharine
 Miller: Messall Law Firm, LLC Rebecca R. Messall Englewood,
 Colorado
" data-specifier="" data-value="Attorneys for Amici Curiae Tastries Bakery and Catharine
 Miller: Messall Law Firm, LLC Rebecca R. Messall Englewood,
 Colorado" id="heading_5666" data-id="heading_5666" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="5666" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="5666" data-sentence-id="5679" class="ldml-sentence"&gt;Attorneys for Amici Curiae Tastries Bakery and &lt;span class="ldml-entity"&gt;Catharine
 Miller&lt;/span&gt;: Messall Law Firm, LLC &lt;span class="ldml-entity"&gt;Rebecca R. Messall&lt;/span&gt; Englewood,
 Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="

 Attorneys for Amicus Curiae U.S. Representative Doug Lamborn:
 Consovoy McCarthy PLLC J. Michael Connolly Arlington,
 Virginia
" data-specifier="" data-value="Attorneys for Amicus Curiae U.S. Representative Doug Lamborn:
 Consovoy McCarthy PLLC J. Michael Connolly Arlington,
 Virginia" id="heading_5807" data-id="heading_5807" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="5807" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="5807" data-sentence-id="5820" class="ldml-sentence"&gt;Attorneys for Amicus Curiae U.S. Representative &lt;span class="ldml-entity"&gt;Doug Lamborn&lt;/span&gt;:
 Consovoy McCarthy PLLC &lt;span class="ldml-entity"&gt;J. Michael Connolly&lt;/span&gt; Arlington,
 Virginia&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="title_case_lacks_specifier" data-content-heading-label="
 Telios
 Law PLLC Joseph B. Brown Theresa Sidebotham Monument,
 Colorado
" data-specifier="" data-value="Telios
 Law PLLC Joseph B. Brown Theresa Sidebotham Monument,
 Colorado" id="heading_5947" data-id="heading_5947" data-merge_confidence="medium"&gt;&lt;span data-paragraph-id="5947" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5947" data-sentence-id="5959" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Telios
 Law PLLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Joseph B. Brown&lt;/span&gt; &lt;span class="ldml-entity"&gt;Theresa Sidebotham&lt;/span&gt; Monument,
 Colorado&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="6031" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="6031" data-sentence-id="6044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which
 CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="6031" data-sentence-id="6165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HOOD&lt;/span&gt;&lt;/span&gt; and JUSTICE
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, dissented.&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="8" data-page_type="bare_number" data-id="pagenumber_6243"&gt;&lt;/span&gt;&lt;/p&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label=" Opinion (HART, MARQUEZ, BOATRIGHT, SAMOUR, GABRIEL, HOOD, BERKENKOTTER, HART)"&gt;&lt;span data-paragraph-id="6243" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="6243" data-sentence-id="6256" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="6264" class="ldml-paragraph no-indent mt-4"&gt;
 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="6264" data-sentence-id="6276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;,
 JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6291" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6291" data-sentence-id="6302" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6302" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The underlying constitutional question &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; raises has
 become the focus of intense public debate: How should
 governments balance the rights of transgender individuals to
 be free from discrimination in places of public accommodation
 with the rights of religious business owners when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are
 operating in the public market?&lt;/span&gt; &lt;span data-paragraph-id="6291" data-sentence-id="6639" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; cannot answer that
 question however, because of a threshold issue of
 administrative law and statutory interpretation: Could &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; properly consider the claims of discrimination
 presented here?&lt;/span&gt; &lt;span data-paragraph-id="6291" data-sentence-id="6852" class="ldml-sentence"&gt;In light of this dispute's procedural
 journey, it could not.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6914" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6914" data-sentence-id="6925" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6925" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The dispute began when &lt;span class="ldml-entity"&gt;Autumn Scardina&lt;/span&gt; requested that
 &lt;span class="ldml-entity"&gt;Masterpiece Cakeshop, Inc.&lt;/span&gt;, owned by &lt;span class="ldml-entity"&gt;Jack Phillips&lt;/span&gt;, make her
 a pink cake with blue frosting to celebrate her gender
 transition and identity as a transgender woman.&lt;/span&gt; &lt;span data-paragraph-id="6914" data-sentence-id="7150" class="ldml-sentence"&gt;Masterpiece
 refused, and Scardina filed an anti-discrimination claim with
 the &lt;span class="ldml-entity"&gt;Colorado Civil Rights Division&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the Division"&lt;/span&gt;)&lt;/span&gt;
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7150" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6914" data-sentence-id="7319" class="ldml-sentence"&gt;The Division found
 probable cause that discrimination occurred, and after the
 Division's conciliation efforts failed, the &lt;span class="ldml-entity"&gt;Colorado
 Civil Rights Commission&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the Commission"&lt;/span&gt;)&lt;/span&gt; took
 jurisdiction to hold an administrative adjudication of the
 claim.&lt;/span&gt; &lt;span data-paragraph-id="6914" data-sentence-id="7569" class="ldml-sentence"&gt;Once it commenced a hearing as part of this
 administrative proceeding, the Commission was required,
 absent a settlement among all &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;, to issue an

&lt;span class="ldml-pagenumber" data-val="9" data-page_type="bare_number" data-id="pagenumber_7728"&gt;&lt;/span&gt;
 order stating its conclusions and the reasons why its
 findings of fact supported those conclusions.&lt;/span&gt; &lt;span data-paragraph-id="6914" data-sentence-id="7831" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7569" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7848" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7848" data-sentence-id="7859" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7859" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In the meantime, Phillips sued both the Division and the
 Commission in &lt;span class="ldml-entity"&gt;federal court&lt;/span&gt;, claiming that these state
 agencies were discriminating against him based on his
 religion by pursuing Scardina's claim.&lt;/span&gt; &lt;span data-paragraph-id="7848" data-sentence-id="8071" class="ldml-sentence"&gt;Scardina moved to
 intervene in the federal proceedings, but &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 denied that motion.&lt;/span&gt; &lt;span data-paragraph-id="7848" data-sentence-id="8172" class="ldml-sentence"&gt;As part of a confidential settlement of
 the federal case, the Division and the Commission
 agreed-without participation by Scardina-to dismiss
 Scardina's administrative complaint against Masterpiece
 and Phillips.&lt;/span&gt; &lt;span data-paragraph-id="7848" data-sentence-id="8388" class="ldml-sentence"&gt;Pursuant to this settlement, the Commission
 terminated the administrative adjudication, but it did not
 issue the required order explaining its reasons for the
 dismissal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="8561" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8561" data-sentence-id="8572" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8572" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Scardina could have appealed the Commission's decision to
 close the administrative adjudication without providing the
 statutorily mandated order but &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not.&lt;/span&gt; &lt;span data-paragraph-id="8561" data-sentence-id="8740" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 brought her discrimination claim anew in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="8561" data-sentence-id="8815" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; took up &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and, following a bench
 trial, determined that Phillips had violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8815" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-601&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, which prohibits discrimination in
 places of public accommodation, and imposed a fine.&lt;/span&gt; &lt;span data-paragraph-id="8561" data-sentence-id="9042" class="ldml-sentence"&gt;Phillips
 appealed, and &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; affirmed the judgment.&lt;/span&gt; &lt;span data-paragraph-id="8561" data-sentence-id="9110" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 granted certiorari

&lt;span class="ldml-pagenumber" data-val="10" data-page_type="bare_number" data-id="pagenumber_9135"&gt;&lt;/span&gt;
 to determine, among other issues, whether Scardina properly
 filed her case in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="8561" data-sentence-id="9235" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did
 not.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9269" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9269" data-sentence-id="9280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9280" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Colorado's Anti-Discrimination Act&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§§
 24-34-301&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -707, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CADA"&lt;/span&gt;)&lt;/span&gt;, sets
 very specific constraints on when &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; can
 consider a claim of discrimination in a place of public
 accommodation.&lt;/span&gt; &lt;span data-paragraph-id="9269" data-sentence-id="9500" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statute&lt;/span&gt; is designed to permit the Division
 to investigate and potentially resolve such claims before
 permitting an aggrieved individual to pursue an action in
 &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9269" data-sentence-id="9682" class="ldml-sentence"&gt;To that end, the version of &lt;span class="ldml-entity"&gt;section&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, applicable at the time that
 Scardina filed her complaint required that a person exhaust
 any administrative remedies before filing an action in &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="9269" data-sentence-id="9913" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; And if the

&lt;span class="ldml-pagenumber" data-val="11" data-page_type="bare_number" data-id="pagenumber_9929"&gt;&lt;/span&gt;
 prescribed times for filing an action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 pass, and the Commission decides to hear and resolve a
 complaint through an administrative adjudication, that claim
 is removed from &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; path entirely.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10160" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10160" data-sentence-id="10171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10171" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10171" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Sections 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and -307, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, set out these two
 paths: either &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; administrative exhaustion followed by an
 action in &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; system under the specific circumstances
 delineated by &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; administrative review followed
 by an administrative adjudication and judicial appeal, if
 requested.&lt;/span&gt; &lt;span data-paragraph-id="10160" data-sentence-id="10490" class="ldml-sentence"&gt;Scardina pursued the latter, the administrative
 adjudication path.&lt;/span&gt; &lt;span data-paragraph-id="10160" data-sentence-id="10558" class="ldml-sentence"&gt;However, when the Commission denied her
 the hearing to which &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was entitled by &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not
 appeal that denial.&lt;/span&gt; &lt;span data-paragraph-id="10160" data-sentence-id="10682" class="ldml-sentence"&gt;That choice did not entitle her to pursue
 the alternate path of filing &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; action.&lt;/span&gt; &lt;span data-paragraph-id="10160" data-sentence-id="10779" class="ldml-sentence"&gt;Nothing
 in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10779" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; authorized her to file the claim anew in
 &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="10867" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10867" data-sentence-id="10878" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10878" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10878" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 did not permit &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to hear this matter.&lt;/span&gt; &lt;span data-paragraph-id="10867" data-sentence-id="11000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 therefore vacate the decisions of the lower &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; and
 dismiss &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10867" data-sentence-id="11079" class="ldml-sentence"&gt;And, accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not consider the
 merits of Scardina's CADA claim, nor whether
 Masterpiece's conduct was protected under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11079" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;First
 Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="background" data-format="upper_case_roman_numeral" data-content-heading-label="
 I.
Facts and Procedural History
" data-parsed="true" data-value="I.
 Facts and Procedural History" data-specifier="I" data-ordinal_end="1" data-ordinal_start="1" id="heading_11231" data-confidences="very_high" data-id="heading_11231"&gt;&lt;span data-paragraph-id="11231" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="11231" data-sentence-id="11242" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="11231" data-sentence-id="11245" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11274" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11274" data-sentence-id="11285" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11285" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;June 26, 2017&lt;/span&gt;, Scardina called Masterpiece Cakeshop and
 spoke with &lt;span class="ldml-entity"&gt;Jack Phillips&lt;/span&gt;'s wife, who worked at the store.&lt;/span&gt;
&lt;span data-paragraph-id="11274" data-sentence-id="11407" class="ldml-sentence"&gt;Scardina requested a pink birthday

&lt;span class="ldml-pagenumber" data-val="12" data-page_type="bare_number" data-id="pagenumber_11444"&gt;&lt;/span&gt;
 cake with blue frosting and was told that Masterpiece would
 make such a cake.&lt;/span&gt; &lt;span data-paragraph-id="11274" data-sentence-id="11525" class="ldml-sentence"&gt;Scardina then explained that the cake was
 intended to celebrate her transition from male to female.&lt;/span&gt; &lt;span data-paragraph-id="11274" data-sentence-id="11626" class="ldml-sentence"&gt;At
 that point, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was informed that the shop was unlikely to
 make the cake &lt;span class="ldml-quotation quote"&gt;"because of the message."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11274" data-sentence-id="11730" class="ldml-sentence"&gt;The call
 disconnected, and when Scardina called back, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was again
 told that the shop would not make the cake.&lt;/span&gt; &lt;span data-paragraph-id="11274" data-sentence-id="11844" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11844" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Scardina
 filed a formal discrimination charge with the Division on
 &lt;span class="ldml-entity"&gt;July 21, 2017&lt;/span&gt;, alleging that Masterpiece Cakeshop, a place of
 public accommodation, had discriminated against her and
 refused service because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was transgender.&lt;/span&gt; &lt;span data-paragraph-id="11274" data-sentence-id="12081" class="ldml-sentence"&gt;Scardina's
 filing set in motion the Division's and the
 Commission's procedural deadlines described in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12081" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="11274" data-sentence-id="12204" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN3" class="ldml-noteanchor" id="note-ref-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12207" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12207" data-sentence-id="12218" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12218" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, under the version of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12218" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applicable
 at the time, the agencies had 270 days from the date of her
 filing to issue a written notice of a formal hearing, or the
 Commission would lose jurisdiction over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and Scardina
 could file her claim in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12207" data-sentence-id="12515" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12218" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12207" data-sentence-id="12548" class="ldml-sentence"&gt;However, over the course of the
 proceeding, both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Scardina and

&lt;span class="ldml-pagenumber" data-val="13" data-page_type="bare_number" data-id="pagenumber_12622"&gt;&lt;/span&gt;
 Masterpiece)&lt;/span&gt; received 90-day extensions as permitted by
 &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, ultimately moving that deadline to &lt;span class="ldml-entity"&gt;October 13,
 2018&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="12207" data-sentence-id="12743" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN4" class="ldml-noteanchor" id="note-ref-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12746" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12746" data-sentence-id="12757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12757" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The Division investigated Scardina's claim and, almost a
 year later, on &lt;span class="ldml-entity"&gt;June 28, 2018&lt;/span&gt;, the Division's Director
 issued a probable cause determination that Masterpiece had
 discriminated against Scardina on the basis of her
 transgender status.&lt;/span&gt; &lt;span data-paragraph-id="12746" data-sentence-id="13007" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; entered compulsory mediation,
 as required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13007" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13094" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13094" data-sentence-id="13105" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13105" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Eventually, the Director determined that mediation was futile
 and referred the matter to the Commission, in accordance with
 statutory procedure.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13257" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13105" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13273" class="ldml-sentence"&gt;The Commission
 issued a Notice of Hearing and Formal Complaint
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Notice"&lt;/span&gt;)&lt;/span&gt; to Phillips and Masterpiece on &lt;span class="ldml-entity"&gt;October
 9, 2018&lt;/span&gt;, just days before the &lt;span class="ldml-entity"&gt;October 13&lt;/span&gt; deadline.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13440" class="ldml-sentence"&gt;The Notice
 informed Phillips that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was to appear before an
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13440" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Administrative Law&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Judge &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"ALJ"&lt;/span&gt;)&lt;/span&gt; on &lt;span class="ldml-entity"&gt;February 4,
 2019&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13558" class="ldml-sentence"&gt;In that administrative proceeding, the ALJ would
 determine whether Phillips violated

&lt;span class="ldml-pagenumber" data-val="14" data-page_type="bare_number" data-id="pagenumber_13646"&gt;&lt;/span&gt;
 CADA by refusing to bake the cake that Scardina had
 requested.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13712" class="ldml-sentence"&gt;This Notice triggered another deadline in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13712" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;: The Commission now had 120 days to commence a
 hearing.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13834" class="ldml-sentence"&gt;If the Commission failed to do so by &lt;span class="ldml-entity"&gt;February 6,
 2019&lt;/span&gt;, it would lose jurisdiction over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13094" data-sentence-id="13932" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13834" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13950" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13950" data-sentence-id="13961" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13961" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly after receiving the Notice, on &lt;span class="ldml-entity"&gt;October 23&lt;/span&gt;, Phillips
 filed a complaint in &lt;span class="ldml-entity"&gt;federal court&lt;/span&gt;, alleging violations of
 his &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13961" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;First Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; rights&lt;/span&gt; by the Division, the Commission,
 and other Colorado state officials.&lt;/span&gt; &lt;span data-paragraph-id="13950" data-sentence-id="14184" class="ldml-sentence"&gt;The complaint requested
 injunctive, declaratory, compensatory, and punitive relief.&lt;/span&gt;
&lt;span data-paragraph-id="13950" data-sentence-id="14269" class="ldml-sentence"&gt;Phillips did not name Scardina as &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14312" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14312" data-sentence-id="14323" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14323" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Meanwhile, in &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; administrative proceeding, the ALJ
 granted Scardina's &lt;span class="ldml-entity"&gt;motion to intervene&lt;/span&gt; through
 independent &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14312" data-sentence-id="14457" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; jointly requested that the
 ALJ treat the &lt;span class="ldml-entity"&gt;February 4&lt;/span&gt; hearing as a procedural
 &lt;span class="ldml-quotation quote"&gt;"commencement hearing,"&lt;/span&gt; where the ALJ could address
 procedural issues and reschedule the merits hearing for a
 later date.&lt;/span&gt; &lt;span data-paragraph-id="14312" data-sentence-id="14671" class="ldml-sentence"&gt;The ALJ granted the request, and &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;
 appeared before the ALJ on &lt;span class="ldml-entity"&gt;February 4, 2019&lt;/span&gt;, meeting &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14671" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s requirement that the Commission commence
 a hearing by, at the latest, &lt;span class="ldml-entity"&gt;February 6, 2019&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14884" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14884" data-sentence-id="14895" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14895" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Days after the &lt;span class="ldml-entity"&gt;February 4&lt;/span&gt; hearing, Scardina attempted to
 intervene in the federal suit pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14895" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Fed.R.Civ.P. 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="14884" data-sentence-id="15017" class="ldml-sentence"&gt;Phillips opposed her motion, and the Commission took no
 position.&lt;/span&gt; &lt;span data-paragraph-id="14884" data-sentence-id="15084" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; sided with Phillips, reasoning that

&lt;span class="ldml-pagenumber" data-val="15" data-page_type="bare_number" data-id="pagenumber_15132"&gt;&lt;/span&gt;
 intervention was unnecessary because the Commission would
 represent Scardina's interests in the federal litigation.&lt;/span&gt;
&lt;span data-paragraph-id="14884" data-sentence-id="15251" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_15084" data-refglobal="case:masterpiececakeshopincvelenis,no18-cv-02074-wyd-stv,2019wl9514601,at3dcolofeb28,2019"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Masterpiece Cakeshop Inc. v. Elenis&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No.
 18-cv-02074-WYD-STV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 WL 9514601, at *3&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D. Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;Feb.
 28, 2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14884" data-sentence-id="15364" class="ldml-sentence"&gt;Scardina was thus unable to participate in the
 federal suit.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15426" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15426" data-sentence-id="15437" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15437" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;March 5&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;federal district court&lt;/span&gt; announced that &lt;span class="ldml-entity"&gt;the
 parties&lt;/span&gt; to the federal case &lt;span class="ldml-parenthetical"&gt;(Masterpiece and the Colorado
 government)&lt;/span&gt; had entered a confidential settlement.&lt;/span&gt; &lt;span data-paragraph-id="15426" data-sentence-id="15611" class="ldml-sentence"&gt;Scardina
 was not informed of the terms of that settlement, nor are
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; part of the record in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15426" data-sentence-id="15718" class="ldml-sentence"&gt;In an emergency
 meeting, the Commission dismissed Scardina's charge
 against Masterpiece and requested that the ALJ close &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15426" data-sentence-id="15852" class="ldml-sentence"&gt;The ALJ filed a notice of administrative closure on
 &lt;span class="ldml-entity"&gt;March 7&lt;/span&gt; and vacated the August merits hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="15952" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15952" data-sentence-id="15963" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15963" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;March 22&lt;/span&gt;, the Commission filed a closure order noting that
 &lt;span class="ldml-quotation quote"&gt;"the Commission members present &lt;span class="ldml-parenthetical"&gt;[at the &lt;span class="ldml-entity"&gt;March 5&lt;/span&gt; meeting]&lt;/span&gt;
 unanimously voted to dismiss the Notice of Hearing and Formal
 Complaint"&lt;/span&gt; against Masterpiece and further stating that
 &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"now formally closed and all administrative
 proceedings under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15963" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3 of article 34 of title 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S.
 have been exhausted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15952" data-sentence-id="16349" class="ldml-sentence"&gt;The order did not mention the
 confidential settlement in the federal case or offer any
 explanation for the closure.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16467" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16467" data-sentence-id="16478" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16478" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;June 5&lt;/span&gt;, Scardina filed her discrimination claim anew in a
 &lt;span class="ldml-entity"&gt;state district court&lt;/span&gt;, asserting that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; was permitted
 to hear her claim under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16478" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section

&lt;span class="ldml-pagenumber" data-val="16" data-page_type="bare_number" data-id="pagenumber_16641"&gt;&lt;/span&gt;
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had exhausted her administrative
 remedies.&lt;/span&gt; &lt;span data-paragraph-id="16467" data-sentence-id="16709" class="ldml-sentence"&gt;Scardina's discrimination claim proceeded to a
 bench trial.&lt;/span&gt; &lt;span data-paragraph-id="16467" data-sentence-id="16770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; ultimately found that
 Masterpiece had discriminated against Scardina in a place of
 public accommodation, in violation of CADA.&lt;/span&gt; &lt;span data-paragraph-id="16467" data-sentence-id="16915" class="ldml-sentence"&gt;It further held
 that CADA did not violate the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16915" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;First Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because it did
 not compel speech or offend the right to free exercise of
 religion.&lt;/span&gt; &lt;span data-paragraph-id="16467" data-sentence-id="17063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; granted the remedy described in
 &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;24-34-602&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a $500 fine, but
 declined to grant any of the other forms of relief that
 Scardina requested in her complaint, such as damages or
 attorney fees.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17299" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17299" data-sentence-id="17310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17310" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Masterpiece appealed, and a division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 affirmed &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s order.&lt;/span&gt; &lt;span data-paragraph-id="17299" data-sentence-id="17414" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-prop-ids="sentence_17310" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Scardina v.
 Masterpiece Cakeshop, Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 COA 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17310" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;528
 P.3d 926, 943&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17299" data-sentence-id="17493" class="ldml-sentence"&gt;Masterpiece sought, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted,
 certiorari.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="backgroundlaw" data-format="upper_case_roman_numeral" data-content-heading-label="
 II.
Applicable Law
" data-parsed="true" data-value="II.
 Applicable Law" data-specifier="II" data-ordinal_end="2" data-ordinal_start="2" id="heading_17542" data-confidences="very_high" data-id="heading_17542"&gt;&lt;span data-paragraph-id="17542" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="17542" data-sentence-id="17553" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="17542" data-sentence-id="17557" class="ldml-sentence"&gt;Applicable Law&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17572" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17572" data-sentence-id="17583" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17583" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The statutory scheme&lt;/span&gt; that establishes the two paths for
 vindication of discrimination claims under CADA, including in
 places of public accommodation is set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17583" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17572" data-sentence-id="17774" class="ldml-sentence"&gt;As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will explain, that &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; sets out a path
 for administrative adjudication and a path for judicial
 adjudication.&lt;/span&gt; &lt;span data-paragraph-id="17572" data-sentence-id="17895" class="ldml-sentence"&gt;While both paths start with administrative
 review in the Division, &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; makes it clear that once
 &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; is on one adjudicatory path &lt;span class="ldml-parenthetical"&gt;(either with the
 Commission or in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;)&lt;/span&gt; there is no option to
 jump to the other.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="17" data-page_type="bare_number" data-id="pagenumber_18140"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18140" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18140" data-sentence-id="18151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18151" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Masterpiece has argued consistently throughout these
 proceedings that Scardina could not properly bring her claim
 before &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18140" data-sentence-id="18299" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reject the specific argument
 presented by Masterpiece: that an appeal pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18299" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;, is part of the administrative
 exhaustion required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18299" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18140" data-sentence-id="18497" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the
 parties&lt;/span&gt;' dispute over the question of whether &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; could properly hear Scardina's claim under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18497" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; puts that question squarely before
 &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="18140" data-sentence-id="18673" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN5" class="ldml-noteanchor" id="note-ref-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18676" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18676" data-sentence-id="18687" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18687" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The details involved in answering this question concern
 matters of statutory interpretation that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de
 novo.&lt;/span&gt; &lt;span data-paragraph-id="18676" data-sentence-id="18810" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference" data-prop-ids="sentence_18687" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCoy v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18687" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890326998" data-vids="890326998" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;442
 P.3d 379, 389&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18676" data-sentence-id="18865" class="ldml-sentence"&gt;Our goal in reviewing &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; is to give
 effect to the General Assembly's intent.&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span data-paragraph-id="18676" data-sentence-id="18950" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Arvada Vill&lt;/span&gt;.&lt;/span&gt;
&lt;/em&gt;&lt;span data-paragraph-id="18676" data-sentence-id="18963" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:arvadavillgardenslpvgarate,2023co24"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Gardens LP v. Garate&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 CO 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrearvadavillagegardenslpvgaratecaseno23sa34529p3d105may15,2023"&gt;&lt;span class="ldml-cite"&gt;529 P.3d
 105, 107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18676" data-sentence-id="19022" class="ldml-sentence"&gt;If the language is unambiguous, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply it as
 written.&lt;/span&gt; &lt;span data-paragraph-id="18676" data-sentence-id="19079" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_19022" data-refglobal="case:deltaairlines,incvscholle,2021co20"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Delta Air Lines, Inc. v. Scholle&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO
 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19022" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895794105" data-vids="895794105" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;484 P.3d 695, 699&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="18" data-page_type="bare_number" data-id="pagenumber_19151"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19151" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="19151" data-sentence-id="19162" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="19151" data-sentence-id="19165" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Statutory Scheme&lt;/span&gt; Prohibiting Discrimination in Places of
 Public Accommodation&lt;/span&gt;&lt;/b&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19248" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19248" data-sentence-id="19259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19259" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 CADA prohibits discrimination in places of public
 accommodations on the basis of, among other things, gender
 identity and gender expression.&lt;/span&gt; &lt;span data-paragraph-id="19248" data-sentence-id="19407" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19259" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-601&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19248" data-sentence-id="19426" class="ldml-sentence"&gt;If a
 person &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;complainant&lt;/span&gt;"&lt;/span&gt; or &lt;span class="ldml-quotation quote"&gt;"charging
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; believes that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have been discriminated
 against in violation of this prohibition, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have two legal
 options.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19596" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19596" data-sentence-id="19607" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19607" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can seek the imposition of a fine in a
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;court&lt;/span&gt; of competent jurisdiction in the county where the
 violation occurred."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19596" data-sentence-id="19743" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19607" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-602&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19596" data-sentence-id="19762" class="ldml-sentence"&gt;This remedy
 is exclusive and is &lt;span class="ldml-quotation quote"&gt;"an alternative to that authorized
 by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19762" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19596" data-sentence-id="19857" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19762" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-602&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19596" data-sentence-id="19873" class="ldml-sentence"&gt;The
 referenced &lt;span class="ldml-quotation quote"&gt;"alternative"&lt;/span&gt;-relief under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19873" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;-begins with an administrative review process in the
 Division and then leads to adjudication before the
 Commission&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN6" class="ldml-noteanchor" id="note-ref-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; or, when specific statutory conditions are
 met, adjudication in &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19596" data-sentence-id="20136" class="ldml-sentence"&gt;Once &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;
 starts down the administrative adjudicatory path before the
 Commission, appellate

&lt;span class="ldml-pagenumber" data-val="19" data-page_type="bare_number" data-id="pagenumber_20243"&gt;&lt;/span&gt;
 review is then available under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20136" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19596" data-sentence-id="20295" class="ldml-sentence"&gt;If,
 instead, one of the paths to adjudication in &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt; is satisfied, and &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; elects that route,
 appellate review is eventually available if any &lt;span class="ldml-entity"&gt;party&lt;/span&gt; wishes
 to challenge &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s final order, in
 accordance with the normal rules of appellate procedure.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20589" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20589" data-sentence-id="20600" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20600" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The question &lt;span class="ldml-entity"&gt;we&lt;/span&gt; confront in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is whether &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;
 that sets out these two paths following administrative
 review-either administrative adjudication or judicial
 adjudication-permits shifting from one path to the other.&lt;/span&gt; &lt;span data-paragraph-id="20589" data-sentence-id="20836" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 conclude that it does not.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="1.
 Pursuing a Claim Through Administrative Review and
 Administrative Adjudication" data-format="number" data-content-heading-label="
 1.
Pursuing a Claim Through Administrative Review and
 Administrative Adjudication
" data-parsed="true" data-specifier="1" data-ordinal_end="1" data-ordinal_start="1" id="heading_20867" data-id="heading_20867"&gt;&lt;span data-paragraph-id="20867" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="20867" data-sentence-id="20878" class="ldml-sentence"&gt;1.&lt;/span&gt;
&lt;span data-paragraph-id="20867" data-sentence-id="20881" class="ldml-sentence"&gt;Pursuing a Claim Through Administrative Review and
 Administrative Adjudication&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="20961" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20961" data-sentence-id="20972" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20972" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 When &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; files a charge of discrimination with the
 Division, the Division's Director and staff are required
 to &lt;span class="ldml-quotation quote"&gt;"make a prompt investigation of the charge,"&lt;/span&gt;
 which can include issuing subpoenas to witnesses and
 compelling the production of documents and records.&lt;/span&gt; &lt;span data-paragraph-id="20961" data-sentence-id="21252" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20972" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20961" data-sentence-id="21272" class="ldml-sentence"&gt;The Director then determines &lt;span class="ldml-quotation quote"&gt;"as
 promptly as possible"&lt;/span&gt; whether &lt;span class="ldml-quotation quote"&gt;"probable cause
 exists for crediting the allegations of the charge."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="20961" data-sentence-id="21406" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21272" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21425" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21425" data-sentence-id="21436" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21436" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If the Director finds no probable cause, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must dismiss
 the charge, notify &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; of the decision, and state in
 that notice that &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; may &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; appeal the dismissal
 to the Commission within ten days, or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; file a civil action
 in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; within ninety days.&lt;/span&gt; &lt;span data-paragraph-id="21425" data-sentence-id="21731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21436" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21425" data-sentence-id="21761" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; chooses the
 first option, and the Commission ultimately agrees with

&lt;span class="ldml-pagenumber" data-val="20" data-page_type="bare_number" data-id="pagenumber_21851"&gt;&lt;/span&gt;
 the Director and dismisses the appeal, &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; again
 has ninety days to file an action in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21425" data-sentence-id="21968" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21761" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21425" data-sentence-id="21994" class="ldml-sentence"&gt;Thus, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discuss further below, a
 no-probable-cause finding &lt;span class="ldml-parenthetical"&gt;(or a Commission dismissal
 affirming that finding)&lt;/span&gt; is one of the triggers that permits
 &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; to pursue adjudication of their claim in
 &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21425" data-sentence-id="22221" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21994" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;see,
 e.g.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="embeddedsentence_22339,sentence_21994" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry v. Colo. Civ. Rts. Comm'n&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;752 P.2d 1070, 1071-72&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that &lt;span class="ldml-entity"&gt;a
 complainant&lt;/span&gt; whose administrative proceeding ended with a
 no-probable-cause finding could not challenge that finding
 directly in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, but rather should have
 turned to &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22558" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22558" data-sentence-id="22569" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22569" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If, however, the Director &lt;em class="ldml-emphasis"&gt;does&lt;/em&gt; find probable cause,
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must &lt;span class="ldml-quotation quote"&gt;"serve &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; with written notice
 stating with specificity the legal authority and jurisdiction
 of the commission and the matters of fact and law
 asserted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22558" data-sentence-id="22805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22569" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(II)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22558" data-sentence-id="22828" class="ldml-sentence"&gt;Following that
 service, the Director and their designees are obligated to
 &lt;span class="ldml-quotation quote"&gt;"order the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; to
 participate in compulsory mediation"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"shall
 endeavor to eliminate the discriminatory or unfair practice
 by conference, conciliation, and persuasion."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="22558" data-sentence-id="23109" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22828" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23113" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23113" data-sentence-id="23124" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23124" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At this stage in the administrative process, agency
 regulations permit the Director to &lt;span class="ldml-quotation quote"&gt;"resolve the charge
 in the public interest by entering into a conciliation
 agreement with &lt;span class="ldml-entity"&gt;the Respondent&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23113" data-sentence-id="23326" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Dep't of Regul&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="23113" data-sentence-id="23342" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23342" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code Regs. 708-1:10.5&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23113" data-sentence-id="23396" class="ldml-sentence"&gt;As long
 as the Director believes the conciliation terms are

&lt;span class="ldml-pagenumber" data-val="21" data-page_type="bare_number" data-id="pagenumber_23459"&gt;&lt;/span&gt;
 reasonable-and even if the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; does not accept
 those terms-the Director may then dismiss the charge.&lt;/span&gt;
&lt;span data-paragraph-id="23113" data-sentence-id="23574" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23396" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23113" data-sentence-id="23578" class="ldml-sentence"&gt;The charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; may challenge the
 Director's decision by appealing to the Commission,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23578" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and, if that challenge fails, filing an appeal
 in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_23578" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello v. Adolph Coors
 Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;689 P.2d 1162, 1165&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;upholding a
 settlement agreement the Division entered into during the
 conciliation process because it ended an employer's
 discriminatory practice, even though &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; did not
 expressly agree to the settlement&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24042" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24042" data-sentence-id="24053" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24053" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The Director can also determine that the mediation efforts
 are &lt;span class="ldml-quotation quote"&gt;"futile,"&lt;/span&gt; in which case the Division must
 report the failure of mediation to the Commission.&lt;/span&gt; &lt;span data-paragraph-id="24042" data-sentence-id="24216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24053" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24042" data-sentence-id="24233" class="ldml-sentence"&gt;At that point, the Commission may choose to
 take no action at all.&lt;/span&gt; &lt;span data-paragraph-id="24042" data-sentence-id="24301" class="ldml-sentence"&gt;If that is the Commission's
 choice, then the administrative process has been exhausted,
 and, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explain in more detail below, &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; can
 request a right to sue letter and pursue their claim in
 &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24526" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24526" data-sentence-id="24537" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24537" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Alternatively, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f the &lt;span class="ldml-parenthetical"&gt;[C]&lt;/span&gt;ommission determines that
 the circumstances warrant"&lt;/span&gt; a hearing, it can issue
 &lt;span class="ldml-quotation quote"&gt;"a written notice and complaint requiring &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt;
 to answer the charges at a formal hearing before the
 &lt;span class="ldml-parenthetical"&gt;[C]&lt;/span&gt;ommission, a

&lt;span class="ldml-pagenumber" data-val="22" data-page_type="bare_number" data-id="pagenumber_24779"&gt;&lt;/span&gt;
 commissioner, or an &lt;span class="ldml-parenthetical"&gt;[ALJ]&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="24526" data-sentence-id="24808" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN7" class="ldml-noteanchor" id="note-ref-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24537" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24526" data-sentence-id="24815" class="ldml-sentence"&gt;The notice must
 state &lt;span class="ldml-quotation quote"&gt;"the time, place, and nature of the hearing, the
 legal authority and jurisdiction under which it is to be
 held, and the matters of fact and law asserted."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="24526" data-sentence-id="24995" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24815" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24526" data-sentence-id="24999" class="ldml-sentence"&gt;That hearing must commence &lt;span class="ldml-quotation quote"&gt;"within &lt;span class="ldml-parenthetical"&gt;[120]&lt;/span&gt;
 days after the service of &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; written notice and
 complaint."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="24526" data-sentence-id="25105" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24999" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25109" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25109" data-sentence-id="25120" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25120" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Throughout this process in the Division and continuing into
 the hearing before the Commission, &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; is a
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;party&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25109" data-sentence-id="25252" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 24-4-102&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;arty"&lt;/span&gt; for purposes of
 agency adjudications includes &lt;span class="ldml-quotation quote"&gt;"any person or agency
 named or admitted as &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Dep't of Regul&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="25109" data-sentence-id="25431" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25431" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code Regs. 708-1:10.2&lt;span class="ldml-parenthetical"&gt;(W)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;defining
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;arty"&lt;/span&gt; as &lt;span class="ldml-quotation quote"&gt;"the Charging &lt;span class="ldml-entity"&gt;Party&lt;/span&gt;/&lt;span class="ldml-entity"&gt;Complainant&lt;/span&gt;
 and/or &lt;span class="ldml-entity"&gt;the Respondent&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt; &lt;span class="ldml-entity"&gt;Dep't of
 Regul&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25109" data-sentence-id="25589" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25589" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code Regs. 708-1:10.2&lt;span class="ldml-parenthetical"&gt;(Y)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(defining &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[p]&lt;/span&gt;arty"&lt;/span&gt; in the same manner at the time
 these proceedings were taking place)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25109" data-sentence-id="25729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Parties&lt;/span&gt; to the
 Commission's adjudicatory proceeding are entitled to an
 array of protections and processes.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25838" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25838" data-sentence-id="25849" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25849" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Indeed, CADA is very specific about what an administrative
 adjudication must include.&lt;/span&gt; &lt;span data-paragraph-id="25838" data-sentence-id="25941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25941" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Section 24-34-306&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; commands that
 the hearing comply with the general requirements for agency
 adjudicatory proceedings described in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25941" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-4-105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25838" data-sentence-id="26110" class="ldml-sentence"&gt;Those requirements include &lt;span class="ldml-entity"&gt;party&lt;/span&gt; input in
 scheduling, the

&lt;span class="ldml-pagenumber" data-val="23" data-page_type="bare_number" data-id="pagenumber_26171"&gt;&lt;/span&gt;
 issuance of subpoenas, the option to be represented by
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, and other procedures that mirror adjudication in &lt;span class="ldml-entity"&gt;the
 courts&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25838" data-sentence-id="26300" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26110" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-4-105&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25838" data-sentence-id="26334" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[E]&lt;/span&gt;very
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt; to the proceeding &lt;em class="ldml-emphasis"&gt;shall have the right&lt;/em&gt; to
 present his case or defense by oral and documentary evidence,
 to submit rebuttal evidence, and to conduct such
 cross-examination as may be required for a full and true
 disclosure of the facts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25838" data-sentence-id="26590" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26334" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-4-105&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis
 added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25838" data-sentence-id="26623" class="ldml-sentence"&gt;In addition to its references to &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; that
 describes the general requirements for agency adjudications,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26623" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; includes its own procedures: discovery
 under the Colorado rules of civil procedure &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26623" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;,
 the possibility of &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt;'s default with
 testimony by &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26623" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;, and the power
 to amend filings &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26623" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27004" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27004" data-sentence-id="27015" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27015" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Moreover, although &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; is not required to hire a
 private attorney for the hearing because the government
 presents &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he case in support of the complaint,"&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27015" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; has a number of
 statutory and regulatory rights during the hearing process.&lt;/span&gt;
&lt;span data-paragraph-id="27004" data-sentence-id="27297" class="ldml-sentence"&gt;In addition to the rights mentioned above, &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; is
 also entitled to &lt;span class="ldml-quotation quote"&gt;"reasonably and fairly amend any
 complaint."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="27423" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27297" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="27439" class="ldml-sentence"&gt;Further, at the time
 Scardina filed her complaint, the Commission's General
 Rules Governing Hearing Procedures provided that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f &lt;span class="ldml-entity"&gt;a
 party&lt;/span&gt; presents a &lt;span class="ldml-entity"&gt;motion for summary judgment&lt;/span&gt;, the
 presentation of the motion with supporting evidence may
 constitute the commencement of the hearing."&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="24" data-page_type="bare_number" data-id="pagenumber_27728"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="27004" data-sentence-id="27729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Dep't of Regul&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="27745" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27745" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code Regs.
 708-1:10.8&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="27797" class="ldml-sentence"&gt;And if &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; wants to hire an
 attorney, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can ask the ALJ for permission to additionally
 &lt;span class="ldml-quotation quote"&gt;"intervene through &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to present oral testimony or
 other evidence and to examine and cross examine
 witnesses."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="28019" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Dep't of Regul&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="28035" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28035" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code
 Regs. 708-1:10.8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; &amp;&lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27004" data-sentence-id="28095" class="ldml-sentence"&gt;These statutory and
 regulatory procedures create an administrative adjudicatory
 process with significant formality and &lt;span class="ldml-entity"&gt;party&lt;/span&gt; protections.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28235" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28235" data-sentence-id="28246" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28246" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If the adjudicator ultimately decides that &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt;
 engaged in discriminatory acts in violation of CADA, the
 Commission &lt;span class="ldml-quotation quote"&gt;"shall issue and cause to be served upon &lt;span class="ldml-entity"&gt;the
 respondent&lt;/span&gt; an order requiring such &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; to cease and
 desist from such discriminatory or unfair practice."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="28235" data-sentence-id="28538" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28246" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28235" data-sentence-id="28554" class="ldml-sentence"&gt;Alternatively, if the adjudicator
 determines that no discrimination occurred, the Commission
 must issue an order dismissing the complaint.&lt;/span&gt; &lt;span data-paragraph-id="28235" data-sentence-id="28695" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28554" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28235" data-sentence-id="28713" class="ldml-sentence"&gt;In either case, the adjudicator's written
 decision &lt;span class="ldml-quotation quote"&gt;"shall . . . include a statement of the reasons
 why the findings of fact lead to the conclusions,"&lt;/span&gt; a
 step of specificity that, once again, goes beyond the
 &lt;span class="ldml-quotation quote"&gt;"findings and conclusions"&lt;/span&gt; typically required of
 other administrative adjudicatory decisions.&lt;/span&gt; &lt;span data-paragraph-id="28235" data-sentence-id="29018" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;Compare&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28713" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-referenceseparator"&gt;with&lt;/span&gt;&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28713" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-4-105&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29073" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29073" data-sentence-id="29084" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29084" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Critically, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;ny &lt;span class="ldml-entity"&gt;complainant&lt;/span&gt; or &lt;span class="ldml-entity"&gt;respondent&lt;/span&gt; claiming to
 be aggrieved by a final order of the &lt;span class="ldml-parenthetical"&gt;[C]&lt;/span&gt;ommission, including
 a refusal to issue an order, may obtain

&lt;span class="ldml-pagenumber" data-val="25" data-page_type="bare_number" data-id="pagenumber_29251"&gt;&lt;/span&gt;
 judicial review thereof."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29073" data-sentence-id="29279" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29084" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-307&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29073" data-sentence-id="29295" class="ldml-sentence"&gt;Such
 review &lt;span class="ldml-quotation quote"&gt;"shall be brought in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="29073" data-sentence-id="29352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29295" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-307&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29368" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29368" data-sentence-id="29379" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29379" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In sum, &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; seeking to file a charge of
 discrimination in a place of public accommodation generally
 begins with the Division.&lt;/span&gt; &lt;span data-paragraph-id="29368" data-sentence-id="29522" class="ldml-sentence"&gt;Under CADA, the Division has two
 opportunities to dispose of that charge over &lt;span class="ldml-entity"&gt;the
 complainant&lt;/span&gt;'s objection: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the Division may find no
 probable cause for the charge, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29522" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
 the Division may impose a conciliation agreement with &lt;span class="ldml-entity"&gt;the
 respondent&lt;/span&gt;'s participation, even over the objection of
 &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;, provided that the Division finds the terms
 reasonable.&lt;/span&gt; &lt;span data-paragraph-id="29368" data-sentence-id="29907" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Dep't of Regul&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29368" data-sentence-id="29923" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29923" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code Regs.
 708-1:10.5&lt;span class="ldml-parenthetical"&gt;(D)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29978" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29978" data-sentence-id="29989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29989" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The Commission also has an opportunity to dispose of the
 charge with no action.&lt;/span&gt; &lt;span data-paragraph-id="29978" data-sentence-id="30075" class="ldml-sentence"&gt;If the Division finds probable cause
 and is unable to establish a reasonable conciliation
 agreement, the Commission may unilaterally terminate the
 administrative process by choosing not to issue a notice of
 hearing and complaint.&lt;/span&gt; &lt;span data-paragraph-id="29978" data-sentence-id="30309" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30075" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30325" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30325" data-sentence-id="30336" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30336" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Once the Commission issues a notice of hearing and complaint
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30336" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, however, it has decided to demand
 that &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; answer the charges originally filed by
 &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30325" data-sentence-id="30543" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30543" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;sections 24-34-306&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(9)&lt;/span&gt;, and
 &lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; require the Commission to complete the process it has
 started by, among other things, issuing an order consistent
 with the adjudicator's

&lt;span class="ldml-pagenumber" data-val="26" data-page_type="bare_number" data-id="pagenumber_30735"&gt;&lt;/span&gt;
 written decision stating why the adjudicator's findings
 of fact led to its conclusions.&lt;/span&gt; &lt;span data-paragraph-id="30325" data-sentence-id="30826" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This statutory scheme&lt;/span&gt; does
 not foreclose &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; from agreeing to settle their
 dispute before completion of the agency adjudication,
 something that apparently occurs with some frequency.&lt;/span&gt; &lt;span data-paragraph-id="30325" data-sentence-id="31020" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Colo.
 Off. of &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; Auditor&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;Management of Civil Rights
 Discrimination Complaints&lt;/em&gt; 1, 9 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Aug. 2019&lt;/span&gt;)&lt;/span&gt;, https://
 leg.colorado.gov/sites/default/files/documents/audits/&lt;span class="ldml-entity"&gt;1820&lt;/span&gt;p_civil_rights.pdf
 &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31020" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;49PA-36TK&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that all eleven &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;
 the Commission set for hearing in Fiscal Year &lt;span class="ldml-entity"&gt;2018&lt;/span&gt; settled
 before the hearing took place)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31366" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="31366" data-sentence-id="31377" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31377" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But neither &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; nor the regulations permit the
 Commission to settle &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt;'s charge of
 discrimination with &lt;span class="ldml-entity"&gt;a respondent&lt;/span&gt; of its own accord without
 &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;'s participation.&lt;/span&gt; &lt;span data-paragraph-id="31366" data-sentence-id="31579" class="ldml-sentence"&gt;Instead, absent an
 agreement among all &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31579" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 requires the process &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; describes.&lt;/span&gt; &lt;span data-paragraph-id="31366" data-sentence-id="31703" class="ldml-sentence"&gt;If &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; do
 not receive that process, or if any &lt;span class="ldml-entity"&gt;party&lt;/span&gt; finds the results
 unfavorable, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; may appeal pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31703" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="2.
 Pursuing a Claim Through Administrative Review and District
 Court Adjudication" data-format="number" data-content-heading-label="
 2.
Pursuing a Claim Through Administrative Review and District
 Court Adjudication
" data-parsed="true" data-specifier="2" data-ordinal_end="2" data-ordinal_start="2" id="heading_31843" data-id="heading_31843"&gt;&lt;span data-paragraph-id="31843" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="31843" data-sentence-id="31854" class="ldml-sentence"&gt;2.&lt;/span&gt;
&lt;span data-paragraph-id="31843" data-sentence-id="31857" class="ldml-sentence"&gt;Pursuing a Claim Through Administrative Review and &lt;span class="ldml-entity"&gt;District
 Court&lt;/span&gt; Adjudication&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="31937" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="31937" data-sentence-id="31948" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31948" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31948" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides four well-defined off-ramps from
 initial administrative review by the Division to merits
 litigation in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32104" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32104" data-sentence-id="32115" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32115" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Before any of those off-ramps is available, however, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32115" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; explains that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[n]&lt;/span&gt;o person may file a
 civil action in &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt;"&lt;/span&gt; based on conduct
 prohibited by &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"without first exhausting the
 proceedings and

&lt;span class="ldml-pagenumber" data-val="27" data-page_type="bare_number" data-id="pagenumber_32362"&gt;&lt;/span&gt;
 remedies available to him under this &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32115" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; unless &lt;span class="ldml-entity"&gt;he&lt;/span&gt; shows .
 . . his ill health which is of such a nature that pursuing
 administrative remedies would not provide timely and
 reasonable relief and would cause irreparable harm."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="32104" data-sentence-id="32594" class="ldml-sentence"&gt;This exhaustion requirement is designed to ensure that the
 Division has an opportunity to investigate and resolve the
 claim before &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; turns to &lt;span class="ldml-entity"&gt;the courts&lt;/span&gt; for
 resolution.&lt;/span&gt;&lt;span data-paragraph-id="32104" data-sentence-id="32777" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN8" class="ldml-noteanchor" id="note-ref-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Exhaustion requirements are standard in
 agency practice and serve the important purposes of
 &lt;span class="ldml-quotation quote"&gt;"protecting agency authority in the administrative
 process and &lt;span class="ldml-quotation quote"&gt;'promoting] efficiency'&lt;/span&gt; in the resolution
 of claims."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="32104" data-sentence-id="32993" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884984755" data-vids="884984755" class="ldml-reference" data-prop-ids="sentence_32777" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Stewart v. lancu&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;912 F.3d 693, 699&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894596652" data-vids="894596652" class="ldml-reference" data-prop-ids="sentence_32777" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Woodford v. Ngo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;548 U.S. 81, 89&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt;
 the importance of administrative exhaustion requirements in
 federal &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32777" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Title VII&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; claims&lt;/span&gt;, upon which CADA's procedures
 are based)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33262" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="33262" data-sentence-id="33273" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33273" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 However, the General Assembly recognized that agency
 investigation and conciliation efforts can be inefficient and
 lengthy, so it established several

&lt;span class="ldml-pagenumber" data-val="28" data-page_type="bare_number" data-id="pagenumber_33432"&gt;&lt;/span&gt;
 circumstances that have the effect of exhaustion under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33273" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and permit &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to hear a
 claim.&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="33560" class="ldml-sentence"&gt;The earliest off-ramp to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; is one &lt;span class="ldml-entity"&gt;a
 complainant&lt;/span&gt; can take any time after 180 days under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33560" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="33689" class="ldml-sentence"&gt;Under that subsection, after 180 days have
 passed since a charge was initially filed, if &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt;
 requests a right to sue letter, &lt;span class="ldml-quotation quote"&gt;"the division shall
 promptly grant"&lt;/span&gt; that request-so long as the Commission
 has not served a notice of a formal hearing, thereby
 signaling that it will take up the claim.&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="34001" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33689" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="34005" class="ldml-sentence"&gt;The
 grant of a right to sue letter &lt;span class="ldml-quotation quote"&gt;"shall constitute final
 agency action and exhaustion of administrative
 remedies."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="34125" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34005" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="34129" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The complainant&lt;/span&gt; then has ninety
 days to file following receipt of the right to sue letter, or
 an action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; is barred.&lt;/span&gt; &lt;span data-paragraph-id="33262" data-sentence-id="34268" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34129" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="33262" data-sentence-id="34285" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN9" class="ldml-noteanchor" id="note-ref-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34288" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34288" data-sentence-id="34299" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34299" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶44
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; second path to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; opens if the Director
 concludes that there is no probable cause to support the
 claim.&lt;/span&gt; &lt;span data-paragraph-id="34288" data-sentence-id="34428" class="ldml-sentence"&gt;In this situation, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34428" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires the
 Director to notify the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can file
 &lt;span class="ldml-quotation quote"&gt;"a civil action in &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; in this state based
 on the alleged discriminatory or unfair practice

&lt;span class="ldml-pagenumber" data-val="29" data-page_type="bare_number" data-id="pagenumber_34648"&gt;&lt;/span&gt;
 that was the subject of the charge filed with the
 commission,"&lt;/span&gt; but that such a claim must be filed within
 ninety days.&lt;/span&gt; &lt;span data-paragraph-id="34288" data-sentence-id="34771" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The statute&lt;/span&gt; also clarifies that failure to
 follow this timeline means that &lt;span class="ldml-quotation quote"&gt;"the action will be
 barred, and no &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; shall have jurisdiction to hear
 the action."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="34288" data-sentence-id="34944" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34771" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34969" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34969" data-sentence-id="34980" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34980" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third, under the version of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; in effect at the time
 of Scardina's complaint, if the Director did not serve
 &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; with a written notice of a formal hearing
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34980" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; within 270 days of the initial
 charge being filed, the Commission's jurisdiction ceased,
 and the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; could file a complaint in &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34969" data-sentence-id="35350" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34980" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34969" data-sentence-id="35367" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; could, &lt;span class="ldml-quotation quote"&gt;"for
 good cause,"&lt;/span&gt; obtain extensions of this 270-day timeline,
 not to exceed ninety days per &lt;span class="ldml-entity"&gt;party&lt;/span&gt; or 180 days overall
 &lt;span class="ldml-parenthetical"&gt;(meaning that the timeline could not, in any circumstance, be
 extended past 450 days)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34969" data-sentence-id="35595" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35595" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN10" class="ldml-noteanchor" id="note-ref-ftn.FN10"&gt;10&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt; If that
 timeline passed without the Commission taking jurisdiction by
 serving notice of a formal hearing, the Commission lost its
 jurisdiction over the complaint.&lt;/span&gt; &lt;span data-paragraph-id="34969" data-sentence-id="35767" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a district
 court&lt;/span&gt; complaint must be filed within ninety days of the
 Commission's loss of jurisdiction, or the action would be
 barred in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34969" data-sentence-id="35939" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35767" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35943" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35943" data-sentence-id="35954" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35954" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Fourth, if the Commission does not hold a hearing within 120
 days following the issuance of a notice of a formal hearing
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35954" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,

&lt;span class="ldml-pagenumber" data-val="30" data-page_type="bare_number" data-id="pagenumber_36112"&gt;&lt;/span&gt;
 the Commission loses jurisdiction, and the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; may
 file a complaint in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35943" data-sentence-id="36217" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35954" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="35943" data-sentence-id="36234" class="ldml-sentence"&gt;As with service of the written notice, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; may ask
 for extensions to this time for good cause, not to exceed
 ninety days per &lt;span class="ldml-entity"&gt;party&lt;/span&gt; or 180 days collectively.&lt;/span&gt; &lt;span data-paragraph-id="35943" data-sentence-id="36401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36234" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35943" data-sentence-id="36419" class="ldml-sentence"&gt;The charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; has ninety days following
 the deadline to file an action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, or the
 action is barred in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35943" data-sentence-id="36567" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36419" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36571" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36571" data-sentence-id="36582" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36582" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 These provisions of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36582" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; are unambiguous.&lt;/span&gt;
&lt;span data-paragraph-id="36571" data-sentence-id="36642" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36642" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Subsections 306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, 306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, and 306&lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; establish the
 General Assembly's intent to impose a strict timeline on
 when &lt;span class="ldml-entity"&gt;complainants&lt;/span&gt; may pursue their case in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 following either &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; a finding of no probable cause by the
 Director, or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; termination of the Commission's
 exclusive powers over a claim for failure to meet a statutory
 deadline.&lt;/span&gt; &lt;span data-paragraph-id="36571" data-sentence-id="37002" class="ldml-sentence"&gt;Each provision describes a situation where &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; may consider a claim of discrimination because
 the administrative agencies' ability to do so has ceased,
 with the &lt;span class="ldml-quotation quote"&gt;"apparent purpose of . . . avoid&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt;
 duplicative and possibly conflicting attempts to pursue
 relief both in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; and before the
 Commission."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="36571" data-sentence-id="37340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895416220" data-vids="895416220" class="ldml-reference" data-prop-ids="sentence_37002" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Cont'l Title Co. v. Dist. Ct.&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;645 P.2d 1310, 1316&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37406" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37406" data-sentence-id="37417" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37417" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Significantly, the specificity of the conditions each
 provision sets forth necessarily implies that &lt;span class="ldml-entity"&gt;complainants&lt;/span&gt;
 may not file absent those conditions.&lt;/span&gt; &lt;span data-paragraph-id="37406" data-sentence-id="37575" class="ldml-sentence"&gt;It would make little
 sense for the General Assembly to restrict access to &lt;span class="ldml-entity"&gt;district

&lt;span class="ldml-pagenumber" data-val="31" data-page_type="bare_number" data-id="pagenumber_37661"&gt;&lt;/span&gt;
 courts&lt;/span&gt; to &lt;span class="ldml-entity"&gt;complainants&lt;/span&gt; who find themselves in certain
 circumstances if litigants had a general right, external to
 &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;, to pursue their case in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 absent those circumstances.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="III.
 Application" data-format="upper_case_roman_numeral" data-content-heading-label="
 III.
Application
" data-parsed="true" data-specifier="III" data-ordinal_end="3" data-ordinal_start="3" id="heading_37864" data-id="heading_37864"&gt;&lt;span data-paragraph-id="37864" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="37864" data-sentence-id="37875" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="37864" data-sentence-id="37880" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="37892" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37892" data-sentence-id="37903" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37903" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Irrespective of the merits of Scardina's claim, &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; here was not permitted to consider her case.&lt;/span&gt;
&lt;span data-paragraph-id="37892" data-sentence-id="38021" class="ldml-sentence"&gt;Masterpiece has argued as much throughout this litigation,
 though for reasons slightly different than &lt;span class="ldml-entity"&gt;those we&lt;/span&gt; rest on
 here.&lt;/span&gt; &lt;span data-paragraph-id="37892" data-sentence-id="38148" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are interpreting &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are not obligated
 to adopt &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' interpretations&lt;/span&gt; that are contrary
 to the text of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; and the intent of the General
 Assembly.&lt;/span&gt; &lt;span data-paragraph-id="37892" data-sentence-id="38330" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have an obligation to interpret and
 apply the law.&lt;/span&gt; &lt;span data-paragraph-id="37892" data-sentence-id="38393" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, having been steered in this
 direction by Masterpiece's arguments that Scardina
 improperly filed her claim anew in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 must address the fact that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38393" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not
 authorize &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to hear &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37892" data-sentence-id="38649" class="ldml-sentence"&gt;As noted
 above, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38649" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; authorizes &lt;span class="ldml-entity"&gt;complainants&lt;/span&gt; to pursue
 their case in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; in four circumstances.&lt;/span&gt; &lt;span data-paragraph-id="37892" data-sentence-id="38775" class="ldml-sentence"&gt;The
 proceedings here did not trigger any of those circumstances.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38841" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38841" data-sentence-id="38852" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38852" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, Scardina could have requested a right to sue letter
 any time after 180 days from when &lt;span class="ldml-entity"&gt;she&lt;/span&gt; filed her initial
 charge, up to the day the Commission served the notice of a
 formal hearing.&lt;/span&gt; &lt;span data-paragraph-id="38841" data-sentence-id="39051" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38852" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, &lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38841" data-sentence-id="39074" class="ldml-sentence"&gt;Scardina never
 requested or

&lt;span class="ldml-pagenumber" data-val="32" data-page_type="bare_number" data-id="pagenumber_39105"&gt;&lt;/span&gt;
 received such a letter, so &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could not have filed an action
 in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; under this provision.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39214" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39214" data-sentence-id="39225" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39225" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39225" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; permits filing an action in &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; when the Director makes an initial finding of
 no probable cause.&lt;/span&gt; &lt;span data-paragraph-id="39214" data-sentence-id="39373" class="ldml-sentence"&gt;But the Director here found probable cause
 to investigate Scardina's claim, so Scardina could not
 have filed an action pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39373" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39528" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39528" data-sentence-id="39539" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39539" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39539" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at that time permitted filing an
 action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; when the Commission failed to
 issue a notice of hearing within 270 days of the initial
 charge.&lt;/span&gt; &lt;span data-paragraph-id="39528" data-sentence-id="39733" class="ldml-sentence"&gt;While the Commission sent the notice more than 270
 days after the initial charge, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; had obtained
 extensions &lt;span class="ldml-parenthetical"&gt;(pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39733" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; which placed
 the &lt;span class="ldml-entity"&gt;October 8&lt;/span&gt; notice of hearing date within the statutory
 deadline.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39972" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39972" data-sentence-id="39983" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39983" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39983" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; permits filing an action in
 &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; when the Commission fails to commence a
 hearing within 120 days of the initial notice of hearing.&lt;/span&gt; &lt;span data-paragraph-id="39972" data-sentence-id="40166" class="ldml-sentence"&gt;In
 &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, an ALJ held a commencement hearing within the
 statutory deadline.&lt;/span&gt; &lt;span data-paragraph-id="39972" data-sentence-id="40248" class="ldml-sentence"&gt;Though the hearing was not substantive,
 it was still &lt;span class="ldml-quotation quote"&gt;"a hearing,"&lt;/span&gt; satisfying &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40248" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s requirement and ensuring that the
 Commission retained jurisdiction over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="40434" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40434" data-sentence-id="40445" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40445" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At no point did the Commission's or Scardina's
 actions trigger one of the avenues that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40445" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 provides for filing &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; case.&lt;/span&gt; &lt;span data-paragraph-id="40434" data-sentence-id="40600" class="ldml-sentence"&gt;But Scardina

&lt;span class="ldml-pagenumber" data-val="33" data-page_type="bare_number" data-id="pagenumber_40615"&gt;&lt;/span&gt;
 argues, and &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; concluded, that the order
 the Commission issued when it dismissed the formal complaint
 against Masterpiece allowed Scardina to bring her claim in
 &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="40819" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40819" data-sentence-id="40830" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40830" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 One version of the argument Scardina makes is that the
 closure order satisfied &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40830" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection 306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s
 administrative exhaustion requirement, thereby giving her the
 right to file an action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, because the
 order stated that &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"now formally closed and
 all administrative proceedings under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40830" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3 of article 34 of
 title 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. have been exhausted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40819" data-sentence-id="41218" class="ldml-sentence"&gt;The flaw in this
 argument is that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41218" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection 306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not grant an
 affirmative right-as it might if it were worded like
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41218" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsections 306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; and 306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which explicitly permit
 &lt;span class="ldml-entity"&gt;complainants&lt;/span&gt; to file a civil action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 under the circumstances &lt;span class="ldml-entity"&gt;those statutes&lt;/span&gt; describe.&lt;/span&gt; &lt;span data-paragraph-id="40819" data-sentence-id="41510" class="ldml-sentence"&gt;Instead,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41510" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection 306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; explains that administrative exhaustion is
 a prerequisite to &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; case.&lt;/span&gt; &lt;span data-paragraph-id="40819" data-sentence-id="41624" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;Compare&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_41664,sentence_41510" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;f written
 notice that a formal hearing will be held is not served
 within two hundred seventy days after the filing of the
 charge . . . the jurisdiction of the commission over the
 complaint shall cease, and &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; may seek the
 relief authorized . . . by filing a civil action in &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; for the district in which the alleged
 discriminatory or unfair practice occurred"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;,
 &lt;em class="ldml-emphasis"&gt;with&lt;/em&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_42103" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[n]&lt;/span&gt;o
 person may file a civil action in &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; in this
 state based on an alleged discriminatory or unfair practice .
 . . without first

&lt;span class="ldml-pagenumber" data-val="34" data-page_type="bare_number" data-id="pagenumber_42253"&gt;&lt;/span&gt;
 exhausting the proceedings and remedies available to him
 under this &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40819" data-sentence-id="42339" class="ldml-sentence"&gt;Thus, administrative
 exhaustion is necessary, but not sufficient.&lt;/span&gt; &lt;span data-paragraph-id="40819" data-sentence-id="42406" class="ldml-sentence"&gt;As explained
 above, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42406" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection 306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; sets out additional requirements before
 &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; may hear a claim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="42520" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42520" data-sentence-id="42531" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42531" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Another version of this argument is that the closure order
 was effectively a right to sue letter.&lt;/span&gt; &lt;span data-paragraph-id="42520" data-sentence-id="42635" class="ldml-sentence"&gt;Again, this argument
 fails.&lt;/span&gt; &lt;span data-paragraph-id="42520" data-sentence-id="42664" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42664" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Section 24-34-306&lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; explicitly states that a right
 to sue letter can be requested &lt;span class="ldml-quotation quote"&gt;"at any time prior to
 service of a notice and complaint pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42664" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;
 of &lt;span class="ldml-entity"&gt;this section&lt;/span&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="42520" data-sentence-id="42852" class="ldml-sentence"&gt;In other words, once the Commission
 has taken up a claim by serving notice of a hearing, &lt;span class="ldml-entity"&gt;a
 complainant&lt;/span&gt; cannot request and neither the Division nor the
 Commission can issue a right to sue letter.&lt;/span&gt; &lt;span data-paragraph-id="42520" data-sentence-id="43050" class="ldml-sentence"&gt;At that point,
 &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; provides unambiguously that the path to &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; is closed, with only one exception: if the
 hearing is not held promptly.&lt;/span&gt; &lt;span data-paragraph-id="42520" data-sentence-id="43212" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43050" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="43229" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="43229" data-sentence-id="43240" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43240" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶57
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; third version of the argument is that the Commission's
 order was not a final order because a final order must do
 more than this summary dismissal did.&lt;/span&gt; &lt;span data-paragraph-id="43229" data-sentence-id="43400" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Scardina&lt;/em&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43400" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-prop-ids="sentence_43400" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;528 P.3d at 933&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"A final judgment is one
 &lt;span class="ldml-quotation quote"&gt;'which ends the particular action in which it is entered,
 leaving nothing further for &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; pronouncing it to do in
 order to completely determine the rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;
 involved.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892859103" data-vids="892859103" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;D.H. v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;561
 P.2d 5, 6&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1977&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43229" data-sentence-id="43710" class="ldml-sentence"&gt;Even assuming &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed with this
 characterization of the Commission's order, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43710" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-307&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="35" data-page_type="bare_number" data-id="pagenumber_43811"&gt;&lt;/span&gt;
 also permits a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;complainant&lt;/span&gt;"&lt;/span&gt; to challenge the
 Commission's &lt;span class="ldml-quotation quote"&gt;"refusal to issue an order"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;the
 court of appeals&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43229" data-sentence-id="43927" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;, the
 Commission's closure order represents the culmination of
 just such a refusal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44038" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44038" data-sentence-id="44049" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44049" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Specifically, the Commission entered into a confidential
 settlement in &lt;span class="ldml-entity"&gt;federal court&lt;/span&gt;, without Scardina's
 participation, in possible violation of its statutory
 obligation to hold a merits hearing on a discrimination claim
 and to issue an order resolving that claim in accordance with
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44049" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(8)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44038" data-sentence-id="44369" class="ldml-sentence"&gt;This occurred after the Commission
 notified &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; that there would be an ALJ
 adjudication and after the ALJ granted Scardina's &lt;span class="ldml-entity"&gt;motion
 to intervene&lt;/span&gt; through &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; in that adjudication.&lt;/span&gt; &lt;span data-paragraph-id="44038" data-sentence-id="44566" class="ldml-sentence"&gt;Thus,
 Scardina was entitled to the administrative processes
 described in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44566" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;sections 24-34-306&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(10)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, unless &lt;span class="ldml-entity"&gt;she&lt;/span&gt; settled
 &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with Masterpiece.&lt;/span&gt; &lt;span data-paragraph-id="44038" data-sentence-id="44716" class="ldml-sentence"&gt;The Commission's issuance of a
 closure order deprived her of that process and any potential
 administrative remedy or settlement.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44847" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44847" data-sentence-id="44858" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44858" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt; amount to the kind of
 &lt;span class="ldml-quotation quote"&gt;"refusal to issue an order"&lt;/span&gt; that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44858" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-307&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; contemplates.&lt;/span&gt; &lt;span data-paragraph-id="44847" data-sentence-id="44991" class="ldml-sentence"&gt;Accordingly, Scardina had a
 statutorily established path to challenge the
 Commission's actions: &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could have turned to &lt;span class="ldml-entity"&gt;the court
 of appeals&lt;/span&gt; to contest the Commission's dismissal of her
 case as part of a binding settlement in &lt;span class="ldml-entity"&gt;federal court&lt;/span&gt;, where
 &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="44847" data-sentence-id="45265" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; express no view on the merits of
 these claims; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; only acknowledge that Scardina possessed an
 avenue for judicial review in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="36" data-page_type="bare_number" data-id="pagenumber_45416"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="conclusion" data-format="upper_case_roman_numeral" data-content-heading-label="
 IV.
Conclusion
" data-parsed="true" data-value="IV.
 Conclusion" data-specifier="IV" data-ordinal_end="4" data-ordinal_start="4" id="heading_45416" data-confidences="very_high" data-id="heading_45416"&gt;&lt;span data-paragraph-id="45416" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="45416" data-sentence-id="45427" class="ldml-sentence"&gt;IV.&lt;/span&gt;
&lt;span data-paragraph-id="45416" data-sentence-id="45431" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="45442" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45442" data-sentence-id="45453" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45453" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 CADA is not ambiguous.&lt;/span&gt; &lt;span data-paragraph-id="45442" data-sentence-id="45481" class="ldml-sentence"&gt;It is quite clear about when a
 litigant may file an action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45442" data-sentence-id="45564" class="ldml-sentence"&gt;The
 litigant can ask for and receive a right to sue letter; the
 Division can issue a finding of no probable cause; the
 Commission can fail to issue a notice of a formal hearing
 within 270 days of the filing of a charge; or the Commission,
 having noticed a hearing, can delay the hearing more than 120
 days.&lt;/span&gt; &lt;span data-paragraph-id="45442" data-sentence-id="45877" class="ldml-sentence"&gt;In the absence of those specific circumstances, a
 litigant cannot file a CADA action in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45986" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45986" data-sentence-id="45997" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45997" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 None of the circumstances that permit an action in &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; occurred here.&lt;/span&gt; &lt;span data-paragraph-id="45986" data-sentence-id="46088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore vacate both the
 division's and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s orders and
 dismiss &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45986" data-sentence-id="46185" class="ldml-sentence"&gt;In so doing, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; express no opinion about
 the merits of Scardina's claims, and nothing about
 today's holding alters the protections afforded by CADA.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="46336" class="ldml-paragraph "&gt;
 &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (HART, MARQUEZ, BOATRIGHT, SAMOUR)"&gt;&lt;span data-paragraph-id="46336" data-sentence-id="46347" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46347" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which
 CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;
 joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46336" data-sentence-id="46480" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt; and JUSTICE
 &lt;span class="ldml-entity"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt;, dissented.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="37" data-page_type="bare_number" data-id="pagenumber_46558"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="46558" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="46558" data-sentence-id="46571" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt; and JUSTICE
 &lt;span class="ldml-entity"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt;, dissenting.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46650" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="46650" data-sentence-id="46661" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46661" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Autumn Scardina&lt;/span&gt; called &lt;span class="ldml-entity"&gt;Masterpiece Cakeshop, Inc.&lt;/span&gt; to order a
 custom birthday cake.&lt;/span&gt; &lt;span data-paragraph-id="46650" data-sentence-id="46749" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; asked if Masterpiece
 could make her a pink cake with blue frosting, a type of cake
 that Masterpiece's co-owner, &lt;span class="ldml-entity"&gt;Jack Phillips&lt;/span&gt;, later agreed
 has no inherent meaning and expresses no message.&lt;/span&gt; &lt;span data-paragraph-id="46650" data-sentence-id="46960" class="ldml-sentence"&gt;Masterpiece
 agreed to make the cake.&lt;/span&gt; &lt;span data-paragraph-id="46650" data-sentence-id="46998" class="ldml-sentence"&gt;But then, Scardina said that the
 cake reflected the fact that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had come out as transgender
 on her birthday.&lt;/span&gt; &lt;span data-paragraph-id="46650" data-sentence-id="47111" class="ldml-sentence"&gt;At that point, Masterpiece refused to make
 the cake.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47165" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47165" data-sentence-id="47176" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47176" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On these undisputed facts, every factfinder and judicial
 officer to have heard &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; concluded that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
 Masterpiece's conduct violated the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-refname"&gt;Colorado
 Antidiscrimination Act&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§§ 24-34-601&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to -605,
 C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2024&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CADA"&lt;/span&gt;)&lt;/span&gt;, because but for
 Scardina's protected status, Masterpiece would have made
 the cake; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; enforcing CADA in &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt; would
 not violate Phillips's rights to free speech or the free
 exercise of his religious beliefs.&lt;/span&gt; &lt;span data-paragraph-id="47165" data-sentence-id="47638" class="ldml-sentence"&gt;Masterpiece then came to
 &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, asking &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to reverse those rulings.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47712" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47712" data-sentence-id="47723" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47723" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority now declines to reach the merits of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="47712" data-sentence-id="47788" class="ldml-sentence"&gt;Instead, it erroneously gives Masterpiece and Phillips a
 procedural pass.&lt;/span&gt; &lt;span data-paragraph-id="47712" data-sentence-id="47863" class="ldml-sentence"&gt;It does so by concluding that &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt; lacked the authority to hear Scardina's case,
 relying on reasoning that no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; presented in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(even after &lt;span class="ldml-entity"&gt;we&lt;/span&gt; issued an order requiring supplemental
 briefing on the question of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s authority&lt;/span&gt;)&lt;/span&gt; and

&lt;span class="ldml-pagenumber" data-val="38" data-page_type="bare_number" data-id="pagenumber_48130"&gt;&lt;/span&gt;
 all but ignoring the argument that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; actually
 presented to &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, namely, that Scardina had failed to exhaust
 her administrative remedies.&lt;/span&gt; &lt;span data-paragraph-id="47712" data-sentence-id="48280" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(To the extent that the majority
 addresses the exhaustion argument presented by Masterpiece
 and Phillips, it rejects that argument.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶
 21, 42 n.8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="48440" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="48440" data-sentence-id="48451" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48451" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The ramifications of the majority's ruling are troubling
 on many levels.&lt;/span&gt; &lt;span data-paragraph-id="48440" data-sentence-id="48530" class="ldml-sentence"&gt;Procedurally, the majority adopts an
 unprecedented administrative regime under which, once a
 merits hearing is set, &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; can never hear
 the matter; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; an administrative agency may never settle
 the matter over &lt;span class="ldml-entity"&gt;a claimant&lt;/span&gt;'s objection, no matter how
 unreasonable that objection may be, but instead must litigate
 the matter to its conclusion.&lt;/span&gt; &lt;span data-paragraph-id="48440" data-sentence-id="48896" class="ldml-sentence"&gt;In my view, neither law nor
 sound policy supports such a conclusion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="48966" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="48966" data-sentence-id="48977" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48977" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Substantively, the majority's ruling throws Scardina
 completely out of &lt;span class="ldml-entity"&gt;court&lt;/span&gt; and deprives her of the opportunity
 to seek a remedy for alleged discriminatory conduct based on
 a novel interpretation of law that no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; asserted and, to
 my knowledge, no &lt;span class="ldml-entity"&gt;court&lt;/span&gt; has adopted.&lt;/span&gt; &lt;span data-paragraph-id="48966" data-sentence-id="49257" class="ldml-sentence"&gt;Moreover, although the
 majority rules solely on procedural grounds, I am concerned
 that Masterpiece and Phillips will construe today's
 ruling as a vindication of their refusal to sell
 non-expressive products with no intrinsic meaning to
 customers who are members of a protected class &lt;span class="ldml-parenthetical"&gt;(here, the
 LGBTQ+ community)&lt;/span&gt; if Phillips opposes the purpose for which
 the customers will

&lt;span class="ldml-pagenumber" data-val="39" data-page_type="bare_number" data-id="pagenumber_49640"&gt;&lt;/span&gt;
 use the products.&lt;/span&gt; &lt;span data-paragraph-id="48966" data-sentence-id="49660" class="ldml-sentence"&gt;Such a claim, though unfounded, could
 detrimentally impact those affected by such conduct.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="49752" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49752" data-sentence-id="49763" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49763" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because I have significant concerns about the foregoing
 substantive and procedural consequences of the majority's
 ruling, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="background" data-format="upper_case_roman_numeral" data-content-heading-label="
 I.
Factual and Procedural Background
" data-parsed="true" data-value="I.
 Factual and Procedural Background" data-specifier="I" data-ordinal_end="1" data-ordinal_start="1" id="heading_49916" data-confidences="very_high" data-id="heading_49916"&gt;&lt;span data-paragraph-id="49916" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="49916" data-sentence-id="49927" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="49916" data-sentence-id="49930" class="ldml-sentence"&gt;Factual and Procedural Background&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="49964" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49964" data-sentence-id="49975" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49975" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Scardina called Masterpiece to order a cake.&lt;/span&gt;
&lt;span data-paragraph-id="49964" data-sentence-id="50025" class="ldml-sentence"&gt;Masterpiece's co-owner and Phillips's wife, Debra,
 answered the phone.&lt;/span&gt; &lt;span data-paragraph-id="49964" data-sentence-id="50097" class="ldml-sentence"&gt;Scardina told Ms. Phillips that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 wanted to purchase a custom birthday cake for six to eight
 &lt;span class="ldml-entity"&gt;people&lt;/span&gt; and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; wanted the cake to be pink with blue
 frosting.&lt;/span&gt; &lt;span data-paragraph-id="49964" data-sentence-id="50262" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; did not request that the cake have any words or
 symbols.&lt;/span&gt; &lt;span data-paragraph-id="49964" data-sentence-id="50324" class="ldml-sentence"&gt;Ms. Phillips responded that Masterpiece could make
 that cake in the time frame requested.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50415" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50415" data-sentence-id="50426" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50426" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Scardina thanked Ms. Phillips and then explained that the
 design reflected the fact that Scardina had transitioned from
 male to female and had come out as transgender on her
 birthday.&lt;/span&gt; &lt;span data-paragraph-id="50415" data-sentence-id="50618" class="ldml-sentence"&gt;At this point, Ms. Phillips changed her position
 and stated that Masterpiece could not make the requested
 cake.&lt;/span&gt; &lt;span data-paragraph-id="50415" data-sentence-id="50732" class="ldml-sentence"&gt;Scardina asked Ms. Phillips to repeat what &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had said
 so that Scardina's &lt;span class="ldml-entity"&gt;brother&lt;/span&gt;, with whom &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was riding in a
 car, could hear it.&lt;/span&gt; &lt;span data-paragraph-id="50415" data-sentence-id="50868" class="ldml-sentence"&gt;At that point, Ms. Phillips went to get
 Phillips, but the call disconnected before Phillips could get
 on the phone.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50986" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50986" data-sentence-id="50997" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50997" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Scardina immediately called back, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; spoke with the
 Phillips's daughter, &lt;span class="ldml-entity"&gt;Lisa Eldfrick&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50986" data-sentence-id="51096" class="ldml-sentence"&gt;Scardina reiterated
 her request for a custom pink cake

&lt;span class="ldml-pagenumber" data-val="40" data-page_type="bare_number" data-id="pagenumber_51154"&gt;&lt;/span&gt;
 with blue frosting, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; repeated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was requesting
 this cake because her birthday coincided with the date on
 which &lt;span class="ldml-entity"&gt;she&lt;/span&gt; came out as transgender.&lt;/span&gt; &lt;span data-paragraph-id="50986" data-sentence-id="51312" class="ldml-sentence"&gt;Ms. Eldfrick responded
 that Masterpiece could not make the requested cake.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51388" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51388" data-sentence-id="51399" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51399" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Although Phillips never spoke to Scardina, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; later explained
 that because of his religious beliefs, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; cannot design cakes
 that promote sex changes, gender transitions, or &lt;span class="ldml-quotation quote"&gt;"the
 idea that a person's sex is anything other than an
 immutable God-given biological reality."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51388" data-sentence-id="51678" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; thus
 confirmed that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not make the requested cake for
 Scardina, even though &lt;span class="ldml-entity"&gt;he&lt;/span&gt; conceded that a pink cake with blue
 frosting itself has no &lt;span class="ldml-quotation quote"&gt;"particular inherent
 meaning"&lt;/span&gt; and does not express any message.&lt;/span&gt; &lt;span data-paragraph-id="51388" data-sentence-id="51894" class="ldml-sentence"&gt;It appears
 undisputed that Phillips would have made the same pink and
 blue cake for other customers and would have sold an
 identical, pre-made cake &lt;span class="ldml-parenthetical"&gt;(as opposed to a custom-made cake)&lt;/span&gt;
 to Scardina, even if &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had disclosed her intended use of
 the cake.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52151" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52151" data-sentence-id="52162" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52162" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;July 21, 2017&lt;/span&gt;, Scardina filed a charge with the &lt;span class="ldml-entity"&gt;Colorado
 Civil Rights Division&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"Division"&lt;/span&gt;)&lt;/span&gt;, alleging
 that Masterpiece and Phillips had violated CADA by refusing
 to sell her a custom pink cake with blue frosting because of
 her status as a transgender woman.&lt;/span&gt; &lt;span data-paragraph-id="52151" data-sentence-id="52436" class="ldml-sentence"&gt;The Division investigated
 and on &lt;span class="ldml-entity"&gt;June 28, 2018&lt;/span&gt;, found probable cause to conclude that
 Masterpiece's and Phillips's conduct violated CADA
 because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had refused to serve Scardina based on her

&lt;span class="ldml-pagenumber" data-val="41" data-page_type="bare_number" data-id="pagenumber_52634"&gt;&lt;/span&gt;
 transgender status.&lt;/span&gt; &lt;span data-paragraph-id="52151" data-sentence-id="52656" class="ldml-sentence"&gt;The Division then ordered &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to
 mediate, but the mediation was ultimately unsuccessful.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52754" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52754" data-sentence-id="52765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52765" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thereafter, on &lt;span class="ldml-entity"&gt;August 14, 2018&lt;/span&gt;, Masterpiece and Phillips sued
 the director and members of the Division, among others, in
 &lt;span class="ldml-entity"&gt;federal court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52754" data-sentence-id="52908" class="ldml-sentence"&gt;Then, two months later, on &lt;span class="ldml-entity"&gt;October 9, 2018&lt;/span&gt;,
 the Commission filed and served on Masterpiece and Phillips a
 Notice of Hearing and Formal Complaint seeking equitable
 relief.&lt;/span&gt; &lt;span data-paragraph-id="52754" data-sentence-id="53082" class="ldml-sentence"&gt;This notice was timely, given that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; had
 requested extensions of the deadline for issuing the notice,
 which extensions the &lt;span class="ldml-entity"&gt;Colorado Civil Rights Commission&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(the
 &lt;span class="ldml-quotation quote"&gt;"Commission"&lt;/span&gt;)&lt;/span&gt; was authorized to grant under the
 version of CADA then in effect.&lt;/span&gt; &lt;span data-paragraph-id="52754" data-sentence-id="53337" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53082" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53374" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53374" data-sentence-id="53385" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53385" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly after the Commission filed its Notice of Hearing and
 Formal Complaint, Scardina filed a &lt;span class="ldml-entity"&gt;motion for leave to
 intervene&lt;/span&gt; in the administrative proceeding, and the
 Commission granted that motion.&lt;/span&gt; &lt;span data-paragraph-id="53374" data-sentence-id="53593" class="ldml-sentence"&gt;Notably, as &lt;span class="ldml-entity"&gt;an intervenor&lt;/span&gt;,
 Scardina could not bring a claim in her individual capacity,
 but her &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; could present oral testimony or other
 evidence and could examine and cross-examine witnesses at the
 hearing on the merits, if any, in this matter.&lt;/span&gt; &lt;span data-paragraph-id="53374" data-sentence-id="53848" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Dep't of
 Regul&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53374" data-sentence-id="53865" class="ldml-sentence"&gt;Agencies, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53865" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;3 Colo. Code Regs. 708-1:10.7&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(previously numbered 708-1:10.8&lt;span class="ldml-parenthetical"&gt;(A)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53958" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53958" data-sentence-id="53969" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53969" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thereafter, on &lt;span class="ldml-entity"&gt;February 4, 2019&lt;/span&gt;, the Commission conducted
 what it called a &lt;span class="ldml-quotation quote"&gt;"Commencement Hearing"&lt;/span&gt; and set the
 merits hearing for &lt;span class="ldml-entity"&gt;August 28, 2019&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53958" data-sentence-id="54122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The

&lt;span class="ldml-pagenumber" data-val="42" data-page_type="bare_number" data-id="pagenumber_54128"&gt;&lt;/span&gt;
 parties&lt;/span&gt; apparently agreed to a Commencement Hearing to
 satisfy the 120-day deadline for commencing a hearing after a
 notice of hearing and formal complaint are served.&lt;/span&gt; &lt;span data-paragraph-id="53958" data-sentence-id="54300" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_54332,sentence_54122" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;unless otherwise noted,
 citations to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54122" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; are to those portions of the
 current version of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; that were also in effect at
 the times relevant to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54512" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54512" data-sentence-id="54523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54523" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In the meantime, Masterpiece's federal lawsuit proceeded,
 and on &lt;span class="ldml-entity"&gt;February 8, 2019&lt;/span&gt;, Scardina filed a &lt;span class="ldml-entity"&gt;motion for leave to
 intervene&lt;/span&gt; in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="54512" data-sentence-id="54674" class="ldml-sentence"&gt;Masterpiece, however, opposed
 Scardina's motion, arguing that any interest that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 might have in the proceeding was merely incidental.&lt;/span&gt; &lt;span data-paragraph-id="54512" data-sentence-id="54812" class="ldml-sentence"&gt;The
 &lt;span class="ldml-entity"&gt;federal district court&lt;/span&gt; denied the motion, concluding that the
 Division could properly represent Scardina's interests.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54936" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54936" data-sentence-id="54947" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54947" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 About one month later, the Division and Masterpiece reached a
 confidential settlement of the federal lawsuit.&lt;/span&gt; &lt;span data-paragraph-id="54936" data-sentence-id="55063" class="ldml-sentence"&gt;Scardina was
 not &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; to that settlement, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; apparently was not aware
 that it was occurring, and it appears that, to this day, the
 terms of the settlement have not been disclosed to her.&lt;/span&gt; &lt;span data-paragraph-id="54936" data-sentence-id="55257" class="ldml-sentence"&gt;Nor
 have &lt;span class="ldml-entity"&gt;they&lt;/span&gt; been disclosed to &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55294" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55294" data-sentence-id="55305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55305" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;March 5, 2019&lt;/span&gt;, presumably in accordance with the terms of
 the Division's and Masterpiece's settlement
 agreement, the Commission conducted an emergency meeting and
 decided to dismiss with prejudice its Notice of Hearing

&lt;span class="ldml-pagenumber" data-val="43" data-page_type="bare_number" data-id="pagenumber_55537"&gt;&lt;/span&gt;
 and Formal Complaint in this matter.&lt;/span&gt; &lt;span data-paragraph-id="55294" data-sentence-id="55576" class="ldml-sentence"&gt;Scardina was not
 informed of this meeting until after it had occurred.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55648" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55648" data-sentence-id="55659" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55659" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 That same day, &lt;span class="ldml-entity"&gt;the Attorney General&lt;/span&gt; filed a Notice of
 Dismissal and Petition for Administrative Closure, and two
 days later, the administrative law judge &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"ALJ"&lt;/span&gt;)&lt;/span&gt;
 assigned to &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; issued an Order of Administrative
 Closure.&lt;/span&gt; &lt;span data-paragraph-id="55648" data-sentence-id="55895" class="ldml-sentence"&gt;In this Order, the ALJ noted that the Commission had
 voted to dismiss with prejudice its administrative complaint.&lt;/span&gt;
&lt;span data-paragraph-id="55648" data-sentence-id="56011" class="ldml-sentence"&gt;Accordingly, after observing that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here is . . . no
 need for any further proceedings before the &lt;span class="ldml-entity"&gt;Office of
 Administrative &lt;span class="ldml-entity"&gt;Courts&lt;/span&gt;&lt;/span&gt;,"&lt;/span&gt; the ALJ administratively closed
 the matter and vacated the merits hearing that had been
 scheduled to begin on &lt;span class="ldml-entity"&gt;August 28, 2019&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56275" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56275" data-sentence-id="56286" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56286" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Two weeks later, on &lt;span class="ldml-entity"&gt;March 22, 2019&lt;/span&gt;, the Commission entered a
 Closure Order, recounting that the Commission had voted to
 dismiss its formal complaint and stating that the matter is
 now &lt;span class="ldml-quotation quote"&gt;"formally closed."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="56275" data-sentence-id="56497" class="ldml-sentence"&gt;This order further declared,
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;ll administrative proceedings under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56497" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3 of
 article 34 of title 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. have been exhausted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="56275" data-sentence-id="56631" class="ldml-sentence"&gt;At
 no time did Masterpiece or Phillips challenge the
 Commission's finding in this regard &lt;span class="ldml-parenthetical"&gt;(or its right to make
 that finding)&lt;/span&gt;, although before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have advanced a legal
 argument that Scardina did not, in fact, exhaust her
 administrative remedies.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56887" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56887" data-sentence-id="56898" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56898" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Scardina then filed the present lawsuit in the &lt;span class="ldml-entity"&gt;Denver
 District Court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="56887" data-sentence-id="56974" class="ldml-sentence"&gt;Masterpiece and Phillips moved to dismiss on
 the ground that Scardina had failed

&lt;span class="ldml-pagenumber" data-val="44" data-page_type="bare_number" data-id="pagenumber_57058"&gt;&lt;/span&gt;
 to exhaust her administrative remedies, but &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt; denied that motion, and &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; proceeded to a bench
 trial.&lt;/span&gt; &lt;span data-paragraph-id="56887" data-sentence-id="57186" class="ldml-sentence"&gt;At the conclusion of the trial, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found that
 Masterpiece and Phillips had violated CADA by refusing to
 serve Scardina because of her transgender status.&lt;/span&gt; &lt;span data-paragraph-id="56887" data-sentence-id="57349" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;
 further found that enforcing CADA in &lt;span class="ldml-entity"&gt;the circumstances
 presented&lt;/span&gt; did not violate Masterpiece's or Phillips's
 rights to free speech or religious expression.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="57518" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="57518" data-sentence-id="57529" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57529" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Masterpiece and Phillips appealed, reiterating their argument
 that Scardina had failed to exhaust her administrative
 remedies and contending that their decision not to make the
 cake that Scardina had requested was based on their religious
 beliefs and their right to be free from compelled speech that
 would violate those beliefs.&lt;/span&gt; &lt;span data-paragraph-id="57518" data-sentence-id="57869" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-prop-ids="sentence_57529" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Scardina v. Masterpiece
 Cakeshop, Inc.&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;2023 COA 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57529" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶¶ 1-2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;528 P.3d
 926, 930&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="57518" data-sentence-id="57950" class="ldml-sentence"&gt;In a unanimous, published opinion, a division of
 our &lt;span class="ldml-entity"&gt;court of appeals&lt;/span&gt; rejected Masterpiece's and
 Phillips's exhaustion argument and affirmed &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;'s judgment on the merits.&lt;/span&gt; &lt;span data-paragraph-id="57518" data-sentence-id="58139" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-prop-ids="sentence_58139" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58139" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 21-28, 93, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/925562893" data-vids="925562893" class="ldml-reference" data-prop-ids="sentence_58139" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;528 P.3d at 930, 933-34, 943&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="58194" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58194" data-sentence-id="58205" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58205" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then granted certiorari, and after receiving &lt;span class="ldml-entity"&gt;the
 parties&lt;/span&gt;' briefs and hearing their oral arguments, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 requested supplemental briefing, asking &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to file
 briefs addressing, among other things, &lt;span class="ldml-quotation quote"&gt;"whether, given
 the deadlines set forth in the version of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58205" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-4-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 C.R.S. in effect at the relevant time, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; had
 jurisdiction to hear Ms. Scardina's claim of
 discrimination."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="58194" data-sentence-id="58620" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The

&lt;span class="ldml-pagenumber" data-val="45" data-page_type="bare_number" data-id="pagenumber_58626"&gt;&lt;/span&gt;
 parties&lt;/span&gt; thereafter filed supplemental opening and answer
 briefs.&lt;/span&gt; &lt;span data-paragraph-id="58194" data-sentence-id="58694" class="ldml-sentence"&gt;None of these supplemental briefs raised or addressed
 the argument on which the majority today relies to conclude
 that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; lacked the authority to decide &lt;span class="ldml-entity"&gt;this
 case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58194" data-sentence-id="58877" class="ldml-sentence"&gt;Instead, as pertinent here, Masterpiece and Phillips
 simply renewed their argument that Scardina had failed to
 exhaust her administrative remedies, and for that reason, &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; lacked the authority to hear &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="analysis" data-format="upper_case_roman_numeral" data-content-heading-label="
 II.
Analysis
" data-parsed="true" data-value="II.
 Analysis" data-specifier="II" data-ordinal_end="2" data-ordinal_start="2" id="heading_59108" data-confidences="very_high" data-id="heading_59108"&gt;&lt;span data-paragraph-id="59108" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="59108" data-sentence-id="59119" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="59108" data-sentence-id="59123" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="59132" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59132" data-sentence-id="59143" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59143" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I begin with a brief discussion of &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; presentation
 principle, and I note my concern regarding the majority's
 decision to dispose of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; based on an argument that no
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt; has presented.&lt;/span&gt; &lt;span data-paragraph-id="59132" data-sentence-id="59350" class="ldml-sentence"&gt;I then address the majority's
 position regarding &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s authority&lt;/span&gt; to hear
 &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, explaining why I believe that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 had such authority.&lt;/span&gt; &lt;span data-paragraph-id="59132" data-sentence-id="59521" class="ldml-sentence"&gt;I end by addressing and rejecting the
 exhaustion argument that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; presented, and I explain
 why I believe &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should have reached the merits here.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A.
 The Party Presentation Principle" data-format="upper_case_letters" data-content-heading-label="
 A.
The Party Presentation Principle
" data-parsed="true" data-specifier="A" data-ordinal_end="1" data-ordinal_start="1" id="heading_59677" data-id="heading_59677"&gt;&lt;span data-paragraph-id="59677" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="59677" data-sentence-id="59688" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="59677" data-sentence-id="59691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Party&lt;/span&gt; Presentation Principle&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="59724" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59724" data-sentence-id="59735" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59735" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The Supreme Court&lt;/span&gt; has succinctly described &lt;span class="ldml-entity"&gt;the party&lt;/span&gt;
 presentation principle:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_59817" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="59818" class="ldml-sentence"&gt;In our adversary system, in both civil and criminal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, in
 the first instance and on appeal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; follow &lt;span class="ldml-entity"&gt;the principle of
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt;&lt;/span&gt; presentation.&lt;/span&gt; &lt;span data-sentence-id="59963" class="ldml-sentence"&gt;That is, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; rely on &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to frame
 the issues for decision and assign to &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; the role of
 neutral arbiter of matters &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; present....&lt;/span&gt; &lt;span data-sentence-id="60114" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;s a
 general rule, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;ur adversary system is designed around
 the premise that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; know what is best for them, and

&lt;span class="ldml-pagenumber" data-val="46" data-page_type="bare_number" data-id="pagenumber_60243"&gt;&lt;/span&gt;
 are responsible for advancing the facts and arguments
 entitling them to relief."&lt;/span&gt;&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="60327" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60327" data-sentence-id="60338" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892601757" data-vids="892601757" class="ldml-reference" data-prop-ids="embeddedsentence_60398" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Greenlaw v. United States&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;554 U.S. 237, 243-44&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;second &lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886681988" data-vids="886681988" class="ldml-reference" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Castro v.
 United States&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;540 U.S. 375, 386&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Scalia, J.,
 concurring in part and concurring in the judgment)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;accord&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:unitedstatesvsineneng-smith,590us371,376,140sct1575,1579,206led2d8662020"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;United States v. Sineneng-Smith&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;590 U.S. 371,
 375-76&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:composvpeople,2021co19"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;Compos v. People&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;2021 CO 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶
 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895605974" data-vids="895605974" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;484 P.3d 159, 165&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60682" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60682" data-sentence-id="60693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60693" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The party&lt;/span&gt; presentation principle not only ensures that &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;
 will exercise judicial restraint and maintain neutrality in
 deciding &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; but also protects due-process interests by
 affording &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; notice and a full and fair opportunity to
 be heard before &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; decides an issue adversely to that
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="60682" data-sentence-id="61008" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/905257414" data-vids="905257414" class="ldml-reference" data-prop-ids="sentence_60693" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v. Campbell&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;26 F.4th 860,
 895&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;11th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2022&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Newsom and Jordan, JJ., dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61113" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61113" data-sentence-id="61124" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61124" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶89&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, as noted above, and as the majority concedes, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶¶ 21, 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Masterpiece and Phillips did not make
 the argument on which the majority relies, even after &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 issued an order requiring that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; submit supplemental
 briefing addressing &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s authority&lt;/span&gt; in
 light of the applicable &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61113" data-sentence-id="61445" class="ldml-sentence"&gt;In such &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;, I believe
 that it is particularly important for &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; not to raise
 and rely on arguments of its own derivation, so as not to
 open itself to questions about its proper role or neutrality.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61653" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61653" data-sentence-id="61664" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61664" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nor do I believe that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can justify ruling on the basis of
 an argument that no one made by labeling the issue
 &lt;span class="ldml-quotation quote"&gt;"jurisdictional."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="61653" data-sentence-id="61800" class="ldml-sentence"&gt;To be sure, when a question

&lt;span class="ldml-pagenumber" data-val="47" data-page_type="bare_number" data-id="pagenumber_61830"&gt;&lt;/span&gt;
 exists as to our or &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s subject matter
 jurisdiction, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have an obligation to address it, even if
 &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; have not raised it or are prepared to concede
 jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="61653" data-sentence-id="62017" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892527127" data-vids="892527127" class="ldml-reference" data-prop-ids="sentence_61800" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bender v. Williamsport Area Sch.
 Dist.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;475 U.S. 534, 541&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886591644" data-vids="886591644" class="ldml-reference" data-prop-ids="sentence_61800" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 S.X.G.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61800" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886591644" data-vids="886591644" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;269 P.3d 735, 737&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61653" data-sentence-id="62138" class="ldml-sentence"&gt;This is
 because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must satisfy ourselves that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have jurisdiction
 to hear and act in a given case.&lt;/span&gt; &lt;span data-paragraph-id="61653" data-sentence-id="62241" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886591644" data-vids="886591644" class="ldml-reference" data-prop-ids="sentence_62138" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;S.X.G.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62138" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886591644" data-vids="886591644" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;269 P.3d at 737&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="62272" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="62272" data-sentence-id="62283" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62283" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As the majority appears to acknowledge, however, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶ 21 n.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; presents no question of either our
 or &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s subject matter jurisdiction.&lt;/span&gt;
&lt;span data-paragraph-id="62272" data-sentence-id="62456" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Subject matter jurisdiction concerns &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s
 authority&lt;/span&gt; to deal with the class of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in which it renders
 judgment."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="62579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894742259" data-vids="894742259" class="ldml-reference" data-prop-ids="sentence_62456" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wood v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;255 P.3d 1136, 1140&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="62629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A court&lt;/span&gt; has subject matter jurisdiction when
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; have empowered &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to
 entertain the type of case before it.&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="62772" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894742259" data-vids="894742259" class="ldml-reference" data-prop-ids="sentence_62629" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="62776" class="ldml-sentence"&gt;In this
 state, &lt;span class="ldml-entity"&gt;district courts&lt;/span&gt; are &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; of general jurisdiction,
 and &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have original jurisdiction in &lt;span class="ldml-quotation quote"&gt;"all civil,
 probate, and criminal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, except as otherwise
 provided"&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62776" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="62987" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62776" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Colo. Const.
 art. VI, § 9&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="63018" class="ldml-sentence"&gt;Moreover, although &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; may
 limit &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;' subject matter jurisdiction, &lt;span class="ldml-quotation quote"&gt;"such
 limitations must be explicit."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62272" data-sentence-id="63139" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894742259" data-vids="894742259" class="ldml-reference" data-prop-ids="sentence_63018" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wood&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;255 P.3d
 at 1140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63164" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63164" data-sentence-id="63175" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63175" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63175" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 subject matter jurisdiction to hear &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63164" data-sentence-id="63287" class="ldml-sentence"&gt;Moreover,
 nothing in CADA &lt;span class="ldml-parenthetical"&gt;(or anywhere else)&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;explicitly&lt;/em&gt;
 limited &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s subject matter jurisdiction
 over &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="48" data-page_type="bare_number" data-id="pagenumber_63419"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="63164" data-sentence-id="63420" class="ldml-sentence"&gt;Accordingly, in my view, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; does not implicate any
 question of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s subject matter
 jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="63164" data-sentence-id="63542" class="ldml-sentence"&gt;At most, it implicates that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 authority&lt;/span&gt; to enter a judgment within a class of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; that it
 was empowered to entertain.&lt;/span&gt; &lt;span data-paragraph-id="63164" data-sentence-id="63670" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888001835" data-vids="888001835" class="ldml-reference" data-prop-ids="sentence_63542" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People in Int. of J.W. v.
 C.O.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2017 CO 105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63542" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶¶ 24-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888001835" data-vids="888001835" class="ldml-reference" data-prop-ids="embeddedsentence_63753" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;406 P.3d 853,
 858-59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;distinguishing between &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s subject matter
 jurisdiction over a class of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; and its authority to enter
 a particular judgment within that class, and noting that when
 &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; falls within the class of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may hear,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; has subject matter jurisdiction over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63164" data-sentence-id="64049" class="ldml-sentence"&gt;I
 am aware of no authority, however, requiring &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to raise, on
 our own, the issue of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s authority&lt;/span&gt; to enter a
 judgment in a class of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; in which it has subject matter
 jurisdiction.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="64243" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="64243" data-sentence-id="64254" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64254" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, I am unpersuaded by the majority's assertion
 that when &lt;span class="ldml-entity"&gt;we&lt;/span&gt; interpret &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have an obligation to
 interpret &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; correctly, even if &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; did not
 raise an issue regarding the matter on which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 decides to opine.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="64508" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64254" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="64523" class="ldml-sentence"&gt;I understand and
 appreciate the majority's concern about issuing an
 opinion reciting an erroneous statutory construction.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="64647" class="ldml-sentence"&gt;But
 here, because no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; has asked &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to opine on the issue
 that the majority raises on its own, addressing only the
 issues that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; raised poses no risk of enshrining an
 erroneous construction of CADA into our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="64882" class="ldml-sentence"&gt;Indeed,
 because no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; raised the issue on which the majority's
 decision rests, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; strikes me as a poor vehicle for
 addressing that issue.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="65033" class="ldml-sentence"&gt;In addition, for the reasons that I
 discuss

&lt;span class="ldml-pagenumber" data-val="49" data-page_type="bare_number" data-id="pagenumber_65080"&gt;&lt;/span&gt;
 below, I respectfully believe that it is the majority's
 interpretation that enshrines an error into law.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="65188" class="ldml-sentence"&gt;And the
 majority's creation of what appears to be a
 duty-to-get-it-right exception to &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; presentation
 principle &lt;span class="ldml-parenthetical"&gt;(or an exception that allows &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to address
 any issue that it would like, as long as &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; steered
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; in a certain direction, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65188" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; creates a
 substantial loophole in &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; presentation principle and
 dramatically alters long-settled tenets of preservation and
 waiver.&lt;/span&gt; &lt;span data-paragraph-id="64243" data-sentence-id="65602" class="ldml-sentence"&gt;I would not adopt such exceptions, for fear that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 will swallow the rule.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65680" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65680" data-sentence-id="65691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65691" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, I do not believe that it was appropriate
 for the majority to rule on the basis of an argument that no
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt; presented, and for that reason alone, I respectfully
 dissent.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B.
 The District Court Had the Authority to Hear This
 Case" data-format="upper_case_letters" data-content-heading-label="
 B.
The District Court Had the Authority to Hear This
 Case
" data-parsed="true" data-specifier="B" data-ordinal_end="2" data-ordinal_start="2" id="heading_65888" data-id="heading_65888"&gt;&lt;span data-paragraph-id="65888" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="65888" data-sentence-id="65899" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="65888" data-sentence-id="65902" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The District Court&lt;/span&gt; Had the Authority to Hear &lt;span class="ldml-entity"&gt;This
 Case&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="65958" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65958" data-sentence-id="65969" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65969" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Even had I thought it appropriate for &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to address the issue
 of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s authority&lt;/span&gt; that the majority
 raised and resolved on its own, I would conclude that &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; had the authority to entertain &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; and
 to enter the judgment that it did.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="66245" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="66245" data-sentence-id="66256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66256" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority concludes that once the Commission decides to
 hold an administrative hearing, Scardina could no longer file
 suit in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66245" data-sentence-id="66408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66256" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 6, 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="66245" data-sentence-id="66427" class="ldml-sentence"&gt;Accordingly, in the majority's view, after the Commission
 and Masterpiece settled the claim without Scardina's
 knowledge or consent and the

&lt;span class="ldml-pagenumber" data-val="50" data-page_type="bare_number" data-id="pagenumber_66571"&gt;&lt;/span&gt;
 Commission dismissed the matter with prejudice and concluded
 that Scardina had exhausted her administrative remedies,
 Scardina's only option was to appeal the Commission's
 failure to enter a ruling on the merits of her claim.&lt;/span&gt;
&lt;span data-paragraph-id="66245" data-sentence-id="66802" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66427" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 6, 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66245" data-sentence-id="66819" class="ldml-sentence"&gt;In my view, this
 conclusion is not supported by the text of CADA, and it is
 contrary to sound public policy.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="66930" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="66930" data-sentence-id="66941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66941" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66941" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; expressly states when the jurisdiction of
 the Commission and of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; come to an end.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="67063" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67063" data-sentence-id="67074" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67074" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Specifically, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67074" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that
 &lt;span class="ldml-quotation quote"&gt;"if the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; does not file an action within
 the time limits specified in sub-subparagraph &lt;span class="ldml-parenthetical"&gt;(B)&lt;/span&gt; of this
 subparagraph &lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[setting forth the deadlines by which a
 charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; must file a civil action after the Division
 makes a no probable cause determination]&lt;/span&gt;, the action will be
 barred, and &lt;em class="ldml-emphasis"&gt;no &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; shall have jurisdiction to
 hear the action&lt;/em&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="67063" data-sentence-id="67508" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="67526" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67526" data-sentence-id="67537" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;¶99
 Section 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in turn, provided, at
 the time pertinent here:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_67628" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="67629" class="ldml-sentence"&gt;If written notice that a formal hearing will be held is not
 served within two hundred seventy days after the filing of
 the charge, if &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; has requested and received a
 notice of right to sue pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67629" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;this
 section&lt;/span&gt;&lt;/span&gt;, or if the hearing is not commenced within the
 one-hundred-twenty-day period prescribed by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67629" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt; of
 &lt;span class="ldml-entity"&gt;this section&lt;/span&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;the jurisdiction of the commission over the
 complaint shall cease&lt;/em&gt;, and &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; may seek the
 relief authorized under this &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67629" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3 and parts 4 to 7&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;this
 article&lt;/span&gt;&lt;/span&gt; against &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; by filing a civil action in
 &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; for the district in which the alleged
 discriminatory or unfair practice occurred.&lt;/span&gt; &lt;span data-sentence-id="68330" class="ldml-sentence"&gt;Such

&lt;span class="ldml-pagenumber" data-val="51" data-page_type="bare_number" data-id="pagenumber_68337"&gt;&lt;/span&gt;
 action must be filed within ninety days of the date upon
 which the jurisdiction of the commission ceased, and if not
 so filed, it shall be barred &lt;em class="ldml-emphasis"&gt;and &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; shall
 have no jurisdiction to hear such action&lt;/em&gt;.&lt;/span&gt; &lt;span data-sentence-id="68559" class="ldml-sentence"&gt;If any &lt;span class="ldml-entity"&gt;party&lt;/span&gt;
 requests the extension of any time period prescribed by this
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68559" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, such extension may be granted for good cause
 by the commission, a commissioner, or the administrative law
 judge, as &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; may be, but the total period of all such
 extensions to either &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the complainant&lt;/span&gt; shall
 not exceed ninety days each, and, in the case of multiple
 &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;, the total period of all extensions shall not exceed
 one hundred eighty days.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="69029" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="69029" data-sentence-id="69030" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphases added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="69048" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="69048" data-sentence-id="69059" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69059" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, as noted above, the Division found probable cause to
 support Scardina's claim, so &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69059" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(C)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not apply, and that &lt;span class="ldml-entity"&gt;section&lt;/span&gt; did
 not deprive &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; of jurisdiction or of the
 authority to hear &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69048" data-sentence-id="69310" class="ldml-sentence"&gt;In addition, it appears
 undisputed that the Commission timely served a notice of
 hearing and formal complaint, after several extensions that
 were expressly authorized by &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; Scardina never requested or received a notice of a
 right to sue under that subsection; and the hearing was
 commenced within that subsection's 120-day time limit.&lt;/span&gt;
&lt;span data-paragraph-id="69048" data-sentence-id="69685" class="ldml-sentence"&gt;Accordingly, none of these provisions operated to end the
 Commission's jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="69048" data-sentence-id="69771" class="ldml-sentence"&gt;Nor did &lt;span class="ldml-entity"&gt;they&lt;/span&gt; start the clock
 for filing a civil action in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69048" data-sentence-id="69846" class="ldml-sentence"&gt;As a result, in
 my view, the Commission retained jurisdiction until &lt;span class="ldml-entity"&gt;March 22,
 2019&lt;/span&gt;, when it dismissed Scardina's case with prejudice,
 concluded that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had exhausted her administrative remedies,
 and closed the matter.&lt;/span&gt; &lt;span data-paragraph-id="69048" data-sentence-id="70069" class="ldml-sentence"&gt;It is only then, at the earliest, that

&lt;span class="ldml-pagenumber" data-val="52" data-page_type="bare_number" data-id="pagenumber_70110"&gt;&lt;/span&gt;
 the time for Scardina to file her lawsuit in the &lt;span class="ldml-entity"&gt;Denver
 District Court&lt;/span&gt; began to run, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; timely filed that action
 within ninety days.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70252" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="70252" data-sentence-id="70263" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70263" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For several reasons, I am not persuaded otherwise by the
 majority's view that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; lost &lt;span class="ldml-parenthetical"&gt;(or could
 never obtain)&lt;/span&gt; the authority to hear &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; once the
 Commission set a hearing on the merits of Scardina's
 claim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="70500" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="70500" data-sentence-id="70511" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70511" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, nothing in either CADA or its implementing regulations
 says any such thing.&lt;/span&gt; &lt;span data-paragraph-id="70500" data-sentence-id="70601" class="ldml-sentence"&gt;To the contrary, as noted above, CADA
 and its regulations expressly state when the jurisdiction or
 authority of the Commission and of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; ceases
 or is precluded, and none of those provisions apply here.&lt;/span&gt; &lt;span data-paragraph-id="70500" data-sentence-id="70822" class="ldml-sentence"&gt;The
 majority nevertheless reads into these express &lt;span class="ldml-parenthetical"&gt;(albeit
 inapplicable)&lt;/span&gt; limitations what it deems to be a further,
 implicit, limitation, namely, that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70822" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides
 the exclusive means by which &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; obtains the
 authority to hear &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; like this.&lt;/span&gt; &lt;span data-paragraph-id="70500" data-sentence-id="71099" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70822" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 48,
 54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="70500" data-sentence-id="71120" class="ldml-sentence"&gt;The majority, however, offers no support for its view
 that an express &lt;em class="ldml-emphasis"&gt;limitation&lt;/em&gt; of authority somehow
 implies an exclusive &lt;em class="ldml-emphasis"&gt;grant&lt;/em&gt; of authority, and I have
 seen no law supporting such a position.&lt;/span&gt; &lt;span data-paragraph-id="70500" data-sentence-id="71317" class="ldml-sentence"&gt;To the contrary, in
 my view, the majority's novel interpretation flips the
 statutory language on its head.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="71426" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="71426" data-sentence-id="71437" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71437" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, the majority's conclusion is contrary to sound
 public policy.&lt;/span&gt; &lt;span data-paragraph-id="71426" data-sentence-id="71514" class="ldml-sentence"&gt;Under the majority's view, once the
 Commission issues a notice of hearing and complaint, it may
 never settle a claim and dismiss &lt;em class="ldml-emphasis"&gt;its own complaint&lt;/em&gt;,
 absent the charging

&lt;span class="ldml-pagenumber" data-val="53" data-page_type="bare_number" data-id="pagenumber_71687"&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s knowledge, participation, and consent.&lt;/span&gt;
&lt;span data-paragraph-id="71426" data-sentence-id="71735" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71514" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶ 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="71426" data-sentence-id="71748" class="ldml-sentence"&gt;Further, a charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; can
 force an administrative agency to proceed through a hearing
 and to a merits decision simply by stubbornly refusing to
 consent to a settlement, no matter how reasonable the agency
 acted on the facts before it.&lt;/span&gt; &lt;span data-paragraph-id="71426" data-sentence-id="71991" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71748" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="71426" data-sentence-id="71999" class="ldml-sentence"&gt;I perceive
 nothing in CADA or its implementing regulations that so
 provides, and neither Masterpiece nor the majority cites any
 authority to support such an argument.&lt;/span&gt; &lt;span data-paragraph-id="71426" data-sentence-id="72169" class="ldml-sentence"&gt;Moreover, in my view,
 these outcomes would result in a substantial waste of
 administrative resources, and I cannot discern a legitimate
 policy rationale for such a result.&lt;/span&gt; &lt;span data-paragraph-id="71426" data-sentence-id="72344" class="ldml-sentence"&gt;Indeed, I expect that
 administrative agencies throughout Colorado will be quite
 surprised &lt;span class="ldml-parenthetical"&gt;(and perhaps alarmed)&lt;/span&gt; to learn that their authority
 to settle actions has now been so significantly curtailed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="72548" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="72548" data-sentence-id="72559" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72559" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Contrary to my colleagues in the majority, I would not adopt
 such a rule.&lt;/span&gt; &lt;span data-paragraph-id="72548" data-sentence-id="72640" class="ldml-sentence"&gt;Rather, I believe that sound public policy
 supports authorizing administrative agencies to resolve
 matters before them, even over a charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s
 objection, and then allowing that &lt;span class="ldml-entity"&gt;party&lt;/span&gt; to pursue their claim
 in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72548" data-sentence-id="72874" class="ldml-sentence"&gt;Such a procedure best ensures a prompt
 result on the merits, which I believe is the end to which
 CADA and its implementing regulations are directed.&lt;/span&gt; &lt;span data-paragraph-id="72548" data-sentence-id="73025" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887735086" data-vids="887735086" class="ldml-reference" data-prop-ids="embeddedsentence_73089,sentence_72874" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Brooke v. Rest. Servs., Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;906 P.2d 66, 71&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that CADA's primary purpose is to eliminate
 unfair or discriminatory practices defined in that &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="54" data-page_type="bare_number" data-id="pagenumber_73202"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="73202" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="73202" data-sentence-id="73213" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73213" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third, although the majority concludes that Scardina should
 have appealed from the Commission's order dismissing and
 closing her case, I do not believe that the law supports such
 a conclusion.&lt;/span&gt; &lt;span data-paragraph-id="73202" data-sentence-id="73415" class="ldml-sentence"&gt;Moreover, in my view, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 would not have had jurisdiction over any such appeal, and
 even if it did, it is not clear to me what that appeal would
 have entailed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="73595" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="73595" data-sentence-id="73606" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73606" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Specifically, in support of its argument that Scardina should
 have filed an appeal in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, the majority
 cites &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73606" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;sections 24-34-307&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2017&lt;/span&gt;)&lt;/span&gt;, which
 provide that &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; aggrieved by &lt;span class="ldml-quotation quote"&gt;"a final order
 of the commission, including a refusal to issue an order, may
 obtain judicial review thereof,"&lt;/span&gt; with such review to be
 sought in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74002" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73606" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74017" class="ldml-sentence"&gt;As the
 majority appears to acknowledge, however, the
 Commission's order was &lt;em class="ldml-emphasis"&gt;not&lt;/em&gt; a final order.&lt;/span&gt;
&lt;span data-paragraph-id="73595" data-sentence-id="74114" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74017" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 57-59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74135" class="ldml-sentence"&gt;Indeed, the gist of
 the majority's ruling appears to be that Scardina should
 have appealed to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; precisely because &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 never received a final order on the merits from the
 Commission.&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74340" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74135" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at ¶ 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74357" class="ldml-sentence"&gt;Nor do I agree
 that the Commission's order was a &lt;span class="ldml-quotation quote"&gt;"refusal to issue
 an order."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74437" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74357" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74445" class="ldml-sentence"&gt;The Commission &lt;em class="ldml-emphasis"&gt;did&lt;/em&gt;
 issue an order, namely, an order dismissing &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and
 concluding that Scardina had exhausted her administrative
 remedies, thereby ending the matter.&lt;/span&gt; &lt;span data-paragraph-id="73595" data-sentence-id="74619" class="ldml-sentence"&gt;Accordingly, I do not
 believe that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74619" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;sections 24-34-307&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; support the
 majority's position here.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="55" data-page_type="bare_number" data-id="pagenumber_74720"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="74720" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="74720" data-sentence-id="74731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74731" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In any event, because the Commission's dismissal and
 closure orders were not final orders, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 would not have had jurisdiction to hear an appeal had
 Scardina filed one.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="74926" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="74926" data-sentence-id="74937" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74937" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶108&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In this regard, I believe that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_74937" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry v. Colorado Civil
 Rights Commission&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;752 P.2d 1070&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which
 has been on the books for nearly forty years, is directly on
 point.&lt;/span&gt; &lt;span data-paragraph-id="74926" data-sentence-id="75128" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, the director of the Division found no
 probable cause to sustain Demetry's charge of
 discrimination, the Commission affirmed, and Demetry
 appealed.&lt;/span&gt; &lt;span data-paragraph-id="74926" data-sentence-id="75292" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_75128" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1070&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="74926" data-sentence-id="75305" class="ldml-sentence"&gt;Although the no probable
 cause determination and the Commission's decision to
 affirm that determination ended all of the administrative
 proceedings in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, the Commission contended that its
 decision to affirm the no probable cause determination did
 not constitute final agency action subject to appellate
 review and thus, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; division lacked
 jurisdiction over Demetry's appeal.&lt;/span&gt; &lt;span data-paragraph-id="74926" data-sentence-id="75713" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_75305" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1071&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="74926" data-sentence-id="75726" class="ldml-sentence"&gt;The division agreed.&lt;/span&gt; &lt;span data-paragraph-id="74926" data-sentence-id="75747" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_75726" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="75751" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="75751" data-sentence-id="75762" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75762" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶109&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The division so concluded notwithstanding the fact that the
 charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; was &lt;span class="ldml-entity"&gt;a complainant&lt;/span&gt; who was obviously aggrieved,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75762" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, as the majority says Scardina was here, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj.
 op. ¶ 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="75751" data-sentence-id="75953" class="ldml-sentence"&gt;The division reasoned that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[f]&lt;/span&gt;or an
 order to be final, it must have some determinative
 consequences for &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; to the proceeding."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="75751" data-sentence-id="76090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_75953" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;752 P.2d at 1071&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="75751" data-sentence-id="76117" class="ldml-sentence"&gt;In other words,
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he order must establish the rights and obligations
 of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75751" data-sentence-id="76207" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76207" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="56" data-page_type="bare_number" data-id="pagenumber_76211"&gt;&lt;/span&gt;
 &lt;span class="ldml-cite"&gt;¶110&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In support of this conclusion, the division looked to federal
 &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; construing &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76207" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Title VII of the Civil Rights Act of 1964&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 and observed that the purpose of any investigation by the
 &lt;span class="ldml-entity"&gt;federal Equal Employment Opportunity Commission&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"EEOC"&lt;/span&gt;)&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"merely preparatory to further
 proceedings."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75751" data-sentence-id="76520" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_76207" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1071-72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="75751" data-sentence-id="76536" class="ldml-sentence"&gt;Thus, the
 division opined, if the EEOC finds no probable cause, then
 the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; may bring a private cause of action.&lt;/span&gt;
&lt;span data-paragraph-id="75751" data-sentence-id="76663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_76536" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1072&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="76676" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="76676" data-sentence-id="76687" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76687" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶111&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The division found this reasoning to be equally applicable to
 the CADA claim before it.&lt;/span&gt; &lt;span data-paragraph-id="76676" data-sentence-id="76782" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76687" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="76676" data-sentence-id="76786" class="ldml-sentence"&gt;Specifically, the
 division observed that the Commission's decision not to
 prosecute Demetry's discrimination charge
 administratively bore &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"no indicia of a final order.&lt;/span&gt;
&lt;span class="ldml-embeddedsentence"&gt;There has been no hearing on, or adjudication of, the merits
 of the charge, nor has there been a determination of the
 legal rights of the employer and employee."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="76676" data-sentence-id="77121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76786" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="76676" data-sentence-id="77125" class="ldml-sentence"&gt;Thus, because there had been no final decision that would
 afford &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; division jurisdiction to hear the
 matter, the Commission's decision did not affect
 Demetry's right to bring an action in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;
 under &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="76676" data-sentence-id="77395" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_77125" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;752 P.2d at 1072&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="77426" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="77426" data-sentence-id="77437" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77437" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In my view, the same reasoning applies in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="77426" data-sentence-id="77496" class="ldml-sentence"&gt;Here, as
 in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_77496" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the Commission's dismissal and
 closure orders did not determine the legal rights of either
 Masterpiece or Scardina.&lt;/span&gt; &lt;span data-paragraph-id="77426" data-sentence-id="77636" class="ldml-sentence"&gt;Nor did those orders bear any
 indicia of finality because, as in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_77636" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, there
 had been &lt;span class="ldml-quotation quote"&gt;"no hearing on, or adjudication of, the merits
 of the charge."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="77426" data-sentence-id="77791" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77791" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="57" data-page_type="bare_number" data-id="pagenumber_77795"&gt;&lt;/span&gt;
 &lt;span class="ldml-cite"&gt;¶113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, Scardina could not have pursued the appeal to
 &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; that the majority says &lt;span class="ldml-entity"&gt;she&lt;/span&gt; should have
 filed because that &lt;span class="ldml-entity"&gt;court&lt;/span&gt; would not have had jurisdiction to
 hear such an appeal.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="78015" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="78015" data-sentence-id="78026" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78026" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶114&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In so concluding, I am not persuaded otherwise by
 Masterpiece's and Phillips's reliance on &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_78026" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello
 v. Adolph Coors Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;689 P.2d 1162&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello I&lt;/em&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889218630" data-vids="889218630" class="ldml-reference" data-prop-ids="sentence_78026" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello v. Adolph
 Coors Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;695 P.2d 311&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello II&lt;/em&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78280" class="ldml-sentence"&gt;In those related &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;,
 Agnello had filed a charge alleging that Coors had
 discriminated against her because of a physical handicap.&lt;/span&gt;
&lt;span data-paragraph-id="78015" data-sentence-id="78415" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_78280" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello I&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;689 P.2d at 1164&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78444" class="ldml-sentence"&gt;The Division found
 probable cause, and conciliation was commenced under CADA.&lt;/span&gt;
&lt;span data-paragraph-id="78015" data-sentence-id="78523" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_78444" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78527" class="ldml-sentence"&gt;There, unlike here, the conciliation process was
 &lt;em class="ldml-emphasis"&gt;successful&lt;/em&gt; and resulted in an agreement between
 Coors and the Division by which an independent physician
 would determine Agnello's capabilities for the position
 for which &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had applied.&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78768" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_78527" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78772" class="ldml-sentence"&gt;Although Agnello
 apparently did not consent to be bound by this determination,
 &lt;span class="ldml-entity"&gt;she&lt;/span&gt; agreed to cooperate and participate in the independent
 physician's evaluation.&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78937" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_78772" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="78941" class="ldml-sentence"&gt;Ultimately, the
 physician made a determination adverse to Agnello, &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 objected to that determination, and the matter was referred
 back to the director, who found that Coors's actions
 satisfied its obligations under the conciliation agreement
 and CADA.&lt;/span&gt; &lt;span data-paragraph-id="78015" data-sentence-id="79199" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_78941" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="79203" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="79203" data-sentence-id="79214" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79214" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶115&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Agnello then appealed to the Commission, which approved and
 confirmed the agreement, finding that the process to which
 the Division and Coors had

&lt;span class="ldml-pagenumber" data-val="58" data-page_type="bare_number" data-id="pagenumber_79370"&gt;&lt;/span&gt;
 agreed was proper and did not ignore CADA's protections
 for persons with disabilities.&lt;/span&gt; &lt;span data-paragraph-id="79203" data-sentence-id="79460" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79214" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="79203" data-sentence-id="79464" class="ldml-sentence"&gt;Agnello then
 appealed to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;, which accepted
 jurisdiction.&lt;/span&gt; &lt;span data-paragraph-id="79203" data-sentence-id="79542" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79464" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889218630" data-vids="889218630" class="ldml-reference" data-prop-ids="embeddedsentence_79586,sentence_79464" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello II&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;695
 P.2d at 313&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that because the conciliation efforts
 under CADA were successful, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; could not
 acquire jurisdiction and an independent action based on the
 alleged CADA violation could not be brought&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="79797" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="79797" data-sentence-id="79808" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79808" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶116&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In my view, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_79808" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello I&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889218630" data-vids="889218630" class="ldml-reference" data-prop-ids="sentence_79808" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello II&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; are
 nothing like &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="79797" data-sentence-id="79887" class="ldml-sentence"&gt;There, unlike here, the
 conciliation process was successful.&lt;/span&gt; &lt;span data-paragraph-id="79797" data-sentence-id="79949" class="ldml-sentence"&gt;Moreover, there, unlike
 here, the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt; participated in the conciliation
 process, although &lt;span class="ldml-entity"&gt;she&lt;/span&gt; did not agree to be bound by it.&lt;/span&gt; &lt;span data-paragraph-id="79797" data-sentence-id="80088" class="ldml-sentence"&gt;Here,
 in contrast, the settlement at issue was kept secret from
 Scardina.&lt;/span&gt; &lt;span data-paragraph-id="79797" data-sentence-id="80164" class="ldml-sentence"&gt;Indeed, Masterpiece and Phillips expressly resisted
 Scardina's intervention in the federal action before
 settling that action without providing Scardina with either
 notice or an opportunity to be heard.&lt;/span&gt; &lt;span data-paragraph-id="79797" data-sentence-id="80370" class="ldml-sentence"&gt;And unlike here, the
 conciliation process and review by the Commission in
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894969453" data-vids="894969453" class="ldml-reference" data-prop-ids="sentence_80370" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello I&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889218630" data-vids="889218630" class="ldml-reference" data-prop-ids="sentence_80370" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Agnello II&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; resulted in a
 decision &lt;em class="ldml-emphasis"&gt;on the merits&lt;/em&gt; finding no discrimination.&lt;/span&gt;
&lt;span data-paragraph-id="79797" data-sentence-id="80536" class="ldml-sentence"&gt;Accordingly, the administrative process in &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt;
 indisputably resulted in a final order over which &lt;span class="ldml-entity"&gt;the court
 of appeals&lt;/span&gt; division could exercise jurisdiction.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="80702" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="80702" data-sentence-id="80713" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80713" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶117&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Even if Scardina could have appealed and &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 could have exercised jurisdiction over such an appeal,
 however, it is not clear to me what such an appeal would have
 entailed.&lt;/span&gt; &lt;span data-paragraph-id="80702" data-sentence-id="80911" class="ldml-sentence"&gt;Under the majority's apparent view, Scardina

&lt;span class="ldml-pagenumber" data-val="59" data-page_type="bare_number" data-id="pagenumber_80958"&gt;&lt;/span&gt;
 would effectively have been forced to appeal the confidential
 settlement agreement between the Division and Masterpiece, in
 which &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was not involved and which presumably required the
 dismissal of the charge at issue.&lt;/span&gt; &lt;span data-paragraph-id="80702" data-sentence-id="81182" class="ldml-sentence"&gt;This, in turn, would have
 forced Scardina to challenge the terms of that settlement
 agreement, even though &lt;span class="ldml-entity"&gt;she&lt;/span&gt; has never seen it.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="81314" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="81314" data-sentence-id="81325" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_81325" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶118&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On this point, I take no comfort in an argument that Scardina
 can appeal the fact that the Commission dismissed and closed
 her case without her knowledge, participation, and consent
 and without issuing a ruling on the merits.&lt;/span&gt; &lt;span data-paragraph-id="81314" data-sentence-id="81560" class="ldml-sentence"&gt;For the reasons
 set forth above, I perceive no statutory basis for an
 argument that once the Commission sets a hearing on the
 merits, it can never settle over the charging &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s
 objection and must instead proceed through the hearing and
 issue a ruling on the merits.&lt;/span&gt; &lt;span data-paragraph-id="81314" data-sentence-id="81834" class="ldml-sentence"&gt;Moreover, I am not convinced
 that the question that the majority believes Scardina should
 have raised on appeal necessarily involves a purely legal
 issue, as the majority seems to assume.&lt;/span&gt; &lt;span data-paragraph-id="81314" data-sentence-id="82025" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_81834" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶¶ 36, 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81314" data-sentence-id="82050" class="ldml-sentence"&gt;Rather, I believe that the question may
 well implicate the facts and circumstances leading to the
 settlement agreement and the terms of that agreement.&lt;/span&gt;
&lt;span data-paragraph-id="81314" data-sentence-id="82204" class="ldml-sentence"&gt;Scardina, as a stranger to that agreement, however, would
 have had no ability to address those issues in an appeal of
 the Commission's Closure Order.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="82356" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="82356" data-sentence-id="82367" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82367" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For all of these reasons, I would conclude that &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;, in fact, had jurisdiction and the authority to
 consider Scardina's claim.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="60" data-page_type="bare_number" data-id="pagenumber_82517"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="82517" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="82517" data-sentence-id="82528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82528" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶120&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The question for me thus becomes whether Scardina exhausted
 her administrative remedies and, if not, whether any failure
 to do so constituted a jurisdictional default.&lt;/span&gt; &lt;span data-paragraph-id="82517" data-sentence-id="82704" class="ldml-sentence"&gt;These are the
 procedural issues that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; actually litigated before
 &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, and I turn to them next.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C.
 Scardina Exhausted Her Administrative Remedies" data-format="upper_case_letters" data-content-heading-label="
 C.
 Scardina Exhausted Her Administrative Remedies
" data-parsed="true" data-specifier="C" data-ordinal_end="3" data-ordinal_start="3" id="heading_82810" data-id="heading_82810"&gt;&lt;span data-paragraph-id="82810" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="82810" data-sentence-id="82821" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;C.
 Scardina Exhausted Her Administrative Remedies&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="82872" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="82872" data-sentence-id="82883" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_82883" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶121&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As an initial matter, I acknowledge our prior &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;
 stating, albeit with limited or no analysis, that the failure
 to exhaust administrative remedies is jurisdictional.&lt;/span&gt;
&lt;span data-paragraph-id="82872" data-sentence-id="83062" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See, e.g.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892004957" data-vids="892004957" class="ldml-reference" data-prop-ids="sentence_82883" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Thomas v. Fed. Deposit Ins.
 Corp.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;255 P.3d 1073, 1077&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_82883" data-refglobal="case:coloradovgoldensconcretecompanyno96sc568962p2d919may18,1998"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;State v.
 Golden's Concrete Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;962 P.2d 919, 923&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="82872" data-sentence-id="83208" class="ldml-sentence"&gt;Although I question whether &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt; are correct on
 that point, &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_83208" data-refglobal="case:santos-zacariavgarland,598us411,416-417143sct1103215led2d3752023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Santos-Zacaria v. Garland&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;598 U.S.
 411, 417&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Exhaustion is typically
 nonjurisdictional ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894742259" data-vids="894742259" class="ldml-reference" data-prop-ids="sentence_83208" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wood&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;255
 P.3d at 1140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Although &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; has the power to
 limit &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;' subject matter jurisdiction, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have held
 that such limitations must be explicit."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="82872" data-sentence-id="83562" class="ldml-sentence"&gt;, I need not
 reach that question here because I believe that Scardina
 exhausted her administrative remedies, as the Commission
 expressly found in its Closure Order.&lt;/span&gt; &lt;span data-paragraph-id="82872" data-sentence-id="83730" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(Notably, neither
 Masterpiece nor Phillips has ever challenged the
 Commission's finding in this regard, which apparently was
 a byproduct of the settlement to which Masterpiece and
 Phillips had agreed.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Accordingly, I believe that there are
 legitimate grounds to conclude that Masterpiece and Phillips
 waived any argument that Scardina had failed to exhaust her
 administrative remedies.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;For

&lt;span class="ldml-pagenumber" data-val="61" data-page_type="bare_number" data-id="pagenumber_84128"&gt;&lt;/span&gt;
 purposes here, however, I will assume without deciding that
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not waive this argument, and I will address it on
 its merits.)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="84264" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="84264" data-sentence-id="84275" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84275" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶122&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At the time relevant here, &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;, C.R.S.&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provided, in pertinent part, &lt;span class="ldml-quotation quote"&gt;"No person may file
 a civil action in &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; in this state based on an
 alleged discriminatory or unfair practice prohibited by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84275" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;parts
 4 to 7&lt;/span&gt;&lt;/a&gt; of &lt;span class="ldml-entity"&gt;this article&lt;/span&gt;&lt;/span&gt; without first exhausting the
 proceedings and remedies available to him under this &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84275" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part
 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,"&lt;/span&gt; subject to exceptions not applicable in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="84264" data-sentence-id="84688" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(The &lt;span class="ldml-entity"&gt;legislature&lt;/span&gt; has since excluded claims of discrimination
 in public accommodations from the list of claims for which
 administrative remedies must be exhausted.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Ch.
 271, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;2023 Colo. Sess. Laws
 1613, 1613&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="84928" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="84928" data-sentence-id="84939" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84939" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶123&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, I believe that our analysis of the exhaustion question
 is quite simple because the Commission itself found in its
 &lt;span class="ldml-entity"&gt;March 22, 2019&lt;/span&gt; Closure Order, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;ll administrative
 proceedings under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_84939" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3 of article 34 of title 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S.
 have been exhausted."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="84928" data-sentence-id="85202" class="ldml-sentence"&gt;As noted above, neither
 Masterpiece nor Phillips has ever challenged this finding,
 and I do not believe that it is appropriate for them to rely
 on those portions of the Commission's dismissal and
 closure orders that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; like while ignoring those portions
 that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do not.&lt;/span&gt; &lt;span data-paragraph-id="84928" data-sentence-id="85481" class="ldml-sentence"&gt;In addition, I perceive no basis on which
 to contest the Commission's conclusion that its own
 administrative proceedings have been exhausted.&lt;/span&gt; &lt;span data-paragraph-id="84928" data-sentence-id="85625" class="ldml-sentence"&gt;For this
 reason alone, I would conclude that Scardina exhausted her
 administrative remedies.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="62" data-page_type="bare_number" data-id="pagenumber_85720"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="85720" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="85720" data-sentence-id="85731" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_85731" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶124&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Even were there a viable question as to whether Scardina had
 exhausted these remedies, however, I would conclude that &lt;span class="ldml-entity"&gt;she&lt;/span&gt;
 did so.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="85869" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="85869" data-sentence-id="85880" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_85880" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶125&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"The doctrine of administrative exhaustion requires &lt;span class="ldml-entity"&gt;a
 party&lt;/span&gt; to pursue available statutory administrative remedies
 before obtaining judicial review of a claim."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="85869" data-sentence-id="86047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892004957" data-vids="892004957" class="ldml-reference" data-prop-ids="sentence_85880" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Thomas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;255 P.3d at 1077&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="85869" data-sentence-id="86073" class="ldml-sentence"&gt;This doctrine &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; promotes
 &lt;span class="ldml-quotation quote"&gt;"the efficient use and conservation of judicial
 resources, by ensuring that &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; intervene only if the
 administrative process fails to provide adequate
 remedies"&lt;/span&gt;; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"enables an agency to make
 initial determinations on matters within its expertise,
 identify and correct its own errors, and develop a factual
 record that will benefit &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; if satisfactory resolution
 cannot be reached through the administrative process."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="85869" data-sentence-id="86540" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892004957" data-vids="892004957" class="ldml-reference" data-prop-ids="sentence_86073" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="86544" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="86544" data-sentence-id="86555" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_86555" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶126&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, the administrative proceeding itself indisputably came
 to an end when the Commission entered its dismissal and
 closure orders.&lt;/span&gt; &lt;span data-paragraph-id="86544" data-sentence-id="86696" class="ldml-sentence"&gt;The question thus becomes whether Scardina
 failed to exhaust her administrative remedies by not
 appealing those orders to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86544" data-sentence-id="86842" class="ldml-sentence"&gt;For the
 reasons set forth above, I do not believe that &lt;span class="ldml-entity"&gt;the court of
 appeals&lt;/span&gt; had jurisdiction to consider such an appeal, nor do
 CADA or its implementing regulations require an appeal in
 &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86544" data-sentence-id="87053" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;Accord&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_86842" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶
 21, 42 n.8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="86544" data-sentence-id="87085" class="ldml-sentence"&gt;Accordingly, in my view, there was nothing
 further for Scardina to do to exhaust her administrative
 remedies, and for the reasons set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893965332" data-vids="893965332" class="ldml-reference" data-prop-ids="sentence_87085" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Demetry&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;752 P.2d at 1072&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I believe that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was entitled to proceed
 to file a claim in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="63" data-page_type="bare_number" data-id="pagenumber_87337"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-types="conclusion" data-format="upper_case_roman_numeral" data-content-heading-label="
 III.
Conclusion
" data-parsed="true" data-value="III.
 Conclusion" data-specifier="III" data-ordinal_end="3" data-ordinal_start="3" id="heading_87337" data-confidences="very_high" data-id="heading_87337"&gt;&lt;span data-paragraph-id="87337" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="87337" data-sentence-id="87348" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="87337" data-sentence-id="87353" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="87364" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="87364" data-sentence-id="87375" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87375" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶127&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; I do not believe that it was proper for the
 majority to conceive, develop, and then dispose of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;
 based on an argument that no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; presented; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; I believe
 that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; had jurisdiction and the statutory
 authority to hear &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; Scardina exhausted her
 administrative remedies, I would reject Masterpiece's and
 Phillips's procedural challenges and reach the merits of
 &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="87810" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="87810" data-sentence-id="87821" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_87821" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶128&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, and because I have significant concerns
 about the substantive and procedural consequences of the
 majority's ruling, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="87988" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="87988" data-sentence-id="87989" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="87999" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="87999" data-sentence-id="88000" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to review the
 following issues:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_88058" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="88059" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="88062" class="ldml-sentence"&gt;Whether Scardina's CADA claim is barred because
 Scardina did not appeal the Commission's dismissal of the
 administrative complaint before suing &lt;span class="ldml-entity"&gt;Masterpiece Cakeshop
 Inc.&lt;/span&gt; and Phillips.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_88249" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="88250" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="88253" class="ldml-sentence"&gt;Whether the decision by &lt;span class="ldml-entity"&gt;Masterpiece Cakeshop Inc.&lt;/span&gt;
 and Phillips not to create a pink cake with blue frosting
 that was to be used to celebrate a gender transition violated
 CADA's prohibition on transgender-status
 discrimination.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_88484" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="88485" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-sentence-id="88488" class="ldml-sentence"&gt;Whether the decision by &lt;span class="ldml-entity"&gt;Masterpiece Cakeshop Inc.&lt;/span&gt;
 and Phillips not to create a pink cake with blue frosting
 that was to be used to celebrate a gender transition was
 protected by the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88488" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;First Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="88690" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="88690" data-sentence-id="88691" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Though &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88691" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; still
 requires administrative exhaustion for most CADA claims, &lt;span class="ldml-entity"&gt;an
 amendment&lt;/span&gt; in &lt;span class="ldml-entity"&gt;2023&lt;/span&gt; excluded claims of discrimination in places
 of public accommodation from this requirement.&lt;/span&gt; &lt;span data-paragraph-id="88690" data-sentence-id="88901" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88691" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;Ch. 271, sec.
 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88691" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_88691" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;2023 Colo. Sess. Laws 1613,
 1613&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="88971" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="88971" data-sentence-id="88972" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN3" class="ldml-notemarker" id="note-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; In addition to triggering deadlines
 for both of the administrative agencies responsible for
 handling these claims, the filing of a charge of
 discrimination with the Division also started the clock on a
 180-day period during which Scardina was required to maintain
 her charge in the administrative process and could not seek
 to pursue a claim in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="88971" data-sentence-id="89342" class="ldml-sentence"&gt;However, 180 days after
 &lt;span class="ldml-entity"&gt;she&lt;/span&gt; filed her charge with the Division, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was entitled to
 request and receive a right to sue letter and to file a claim
 in &lt;span class="ldml-entity"&gt;district court&lt;/span&gt;, so long as the Commission had not yet
 issued a Notice of Hearing.&lt;/span&gt; &lt;span data-paragraph-id="88971" data-sentence-id="89577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_89342" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;,
 &lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="89601" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="89601" data-sentence-id="89602" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN4" class="ldml-notemarker" id="note-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; These extensions are not explicitly
 documented in the record, but &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s
 findings of fact conclude that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[b]&lt;/span&gt;oth &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; requested
 jurisdictional extensions of time, ultimately extending the
 &lt;span class="ldml-parenthetical"&gt;[Division]&lt;/span&gt;'s jurisdiction until &lt;span class="ldml-entity"&gt;October 13, 2018&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="89601" data-sentence-id="89864" class="ldml-sentence"&gt;This finding is supported by an exchange at trial between &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; and Scardina's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, in which &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; provided
 the judge with documents indicating that the extensions were
 granted.&lt;/span&gt; &lt;span data-paragraph-id="89601" data-sentence-id="90055" class="ldml-sentence"&gt;Because it is supported by the record, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; defer to
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s factual finding regarding these
 extensions.&lt;/span&gt; &lt;span data-paragraph-id="89601" data-sentence-id="90170" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_90055" data-refglobal="case:peopleofthestateofcoloradovjohnsoncaseno23sa293549p3d1008,2024co47june17,2024"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Johnson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2024 CO 47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90055" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="embeddedsentence_90233" data-refglobal="case:peopleofthestateofcoloradovjohnsoncaseno23sa293549p3d1008,2024co47june17,2024"&gt;&lt;span class="ldml-cite"&gt;549 P.3d 1008, 1014&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; accept and defer to
 &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s factual findings unless &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are clearly
 erroneous or draw no support from competent evidence in the
 record."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="90382" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="90382" data-sentence-id="90383" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN5" class="ldml-notemarker" id="note-ftn.FN5"&gt;5&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; need not decide whether &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90383" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s constraint on when &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; may hear
 a CADA claim is &lt;span class="ldml-quotation quote"&gt;"jurisdictional"&lt;/span&gt;; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; need only
 determine whether &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90383" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; imposes limits,
 regardless of their character, that would vindicate
 Masterpiece's assertion that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; could not
 properly hear Scardina's claim.&lt;/span&gt; &lt;span data-paragraph-id="90382" data-sentence-id="90725" class="ldml-sentence"&gt;Thus, to the extent &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 use the term &lt;span class="ldml-quotation quote"&gt;'jurisdiction'&lt;/span&gt; throughout this opinion,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; refer only to the language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90725" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and do not
 intend to invoke the underlying legal significance of this
 term.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="90932" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="90932" data-sentence-id="90933" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN6" class="ldml-notemarker" id="note-ftn.FN6"&gt;6&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Though &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are both tasked with
 enforcing CADA, the Division and the Commission are distinct
 entities that engage with a discrimination complaint at
 different stages of the procedures described in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_90933" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="90932" data-sentence-id="91157" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See&lt;/em&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 24-1-122&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(h)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(listing the Division and the Commission as separate entities
 within Colorado's &lt;span class="ldml-entity"&gt;Department of Regulatory Agencies&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;see also&lt;/em&gt; Colo. Civ. Rts. Div., &lt;em class="ldml-emphasis"&gt;The Complaint
 Process&lt;/em&gt;, https://ccrd.colorado.gov/the-complaint-process
 &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/3UUD-XSU8]&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"The Commission is a
 separate and distinct body from the &lt;span class="ldml-entity"&gt;Colorado Civil Rights
 Division&lt;/span&gt;."&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="91538" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="91538" data-sentence-id="91539" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN7" class="ldml-notemarker" id="note-ftn.FN7"&gt;7&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The &lt;span class="ldml-quotation quote"&gt;"charges"&lt;/span&gt; that the
 notice and complaint require &lt;span class="ldml-entity"&gt;the respondent&lt;/span&gt; to answer are the
 charges filed by the &lt;span class="ldml-quotation quote"&gt;"person claiming to be aggrieved by
 a discriminatory or an unfair practice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91538" data-sentence-id="91728" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91539" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§
 24-34-306&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="91751" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="91751" data-sentence-id="91752" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN8" class="ldml-notemarker" id="note-ftn.FN8"&gt;8&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Masterpiece argues that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91752" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s exhaustion requirement mandated that
 Scardina pursue her right to appeal pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91752" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; before filing &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; suit because the
 provision on judicial review and enforcement is included
 within &lt;span class="ldml-quotation quote"&gt;"this &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_91752" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;part 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91751" data-sentence-id="92038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt; &lt;span data-paragraph-id="91751" data-sentence-id="92051" class="ldml-sentence"&gt;True, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92051" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is included in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92051" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Part 3 of Title 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="91751" data-sentence-id="92111" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92111" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection
 306&lt;span class="ldml-parenthetical"&gt;(14)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; explicitly limits its exhaustion requirement to
 &lt;span class="ldml-quotation quote"&gt;"administrative remedies."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="91751" data-sentence-id="92211" class="ldml-sentence"&gt;The right to review of
 agency &lt;span class="ldml-entity"&gt;decisions in &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;&lt;/span&gt;, as described by
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92211" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section 24-34-307&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is not a part of administrative remedies,
 but rather is a separate appellate right.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="92398" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="92398" data-sentence-id="92399" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN9" class="ldml-notemarker" id="note-ftn.FN9"&gt;9&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; refer to this process under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_92399" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;subsection 306&lt;span class="ldml-parenthetical"&gt;(15)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as the earliest moment a claim can move
 from administrative review to &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; because of the
 time the administrative review often takes.&lt;/span&gt; &lt;span data-paragraph-id="92398" data-sentence-id="92599" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, for
 example, the Division issued its probable cause finding more
 than a year after Scardina filed her initial claim.&lt;/span&gt; &lt;span data-paragraph-id="92398" data-sentence-id="92732" class="ldml-sentence"&gt;The
 Commission served its notice of a formal hearing almost 450
 days after Scardina filed her initial claim.&lt;/span&gt; &lt;span data-paragraph-id="92398" data-sentence-id="92843" class="ldml-sentence"&gt;CADA entitled
 Scardina to request a right to sue letter, moving from the
 administrative process to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;, at any time
 from 180 days after &lt;span class="ldml-entity"&gt;she&lt;/span&gt; filed her claim with the Division up
 until the day that the Commission took up the claim by
 serving notice of the formal hearing.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="93133" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="93133" data-sentence-id="93134" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN10" class="ldml-notemarker" id="note-ftn.FN10"&gt;10&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; The current version of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_93134" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;section
 24-34-306&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; has eliminated the possibility of extensions and
 simply sets the timeline &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_93134" data-reftype="at_page"&gt;&lt;span class="ldml-cite"&gt;at 450&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; days.&lt;/span&gt; &lt;span data-paragraph-id="93133" data-sentence-id="93267" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_93134" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;§ 24-34-306&lt;span class="ldml-parenthetical"&gt;(11)&lt;/span&gt;,
 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="93300" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="93300" data-sentence-id="93301" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;